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                             EXHIBIT 1
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                    TELEDYNE RISI, INC. d/b/a
             TELEDYNE ELECTRONIC SAFETY PRODUCTS,
                      a California corporation,

                                          vs.

              MARTIN-BAKER AIRCRAFT COMPANY LTD.,
                 a United Kingdom corporation, et. al.
              United States District Court, Central District of California

                        Case No. 2:15-CV-07936-SJO-GJSx


                               Expert Witness Report

                           Mark Newton, CPA, ABV, CFF


                                   August 31, 2017



                                 Oakland, California
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        Schedule
        Number                                                Description

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  I.   Scope of Engagement

       I have been engaged by Rose Walker, LLP, counsel for Plaintiff Teledyne RISI, Inc. d/b/a Teledyne
       Electronic Safety Products (‘TESP’) to calculate the economic loss suffered by Plaintiff as a direct result
       of breach of contract and unfair competition practices conducted by Defendant, Martin-Baker Aircraft
       Company, Ltd (‘Martin-Baker’). I have no opinions as to liability issues in this matter.

 II.   Qualifications

       I am a Certified Public Accountant, licensed in the States of Washington and California. I have been
       retained to assess economic damages on hundreds of cases during my career spanning over 40 years.
       I regularly present seminars to various companies and claims associations pertaining to loss of income
       and other forensic accounting and economic topics. Additionally, I have testified as an expert in over
       150 cases in various venues.

       I am a shareholder of Hagen, Streiff, Newton & Oshiro, Accountants, P.C. My curriculum vitae is
       attached as Exhibit 2 to this report and my list of testimonies is included as Exhibit 3.

III.   Use and Distribution of this Report

       This use and distribution of this report are limited to this litigation, the attorneys, experts, and the court
       under the terms of the applicable protective order.

IV.    Background

       Martin-Baker Aircraft supplies the ejection seat for the F-35 Joint Strike Fighter (‘JSF’) as a contractor
       to BAE Systems (‘BAE’) that is ultimately delivered to Lockheed Martin. TESP was previously a
       subcontractor to Martin-Baker that supplied the sequencer for the ejection system. A sequencer, in
       simple terms, is an electronic device that controls the ejection seat to safely recover the aircrew upon
       ejection from an aircraft.

       TESP and Martin-Baker entered into a Letter of Agreement on July 3, 2003 wherein TESP was to
       provide Martin-Baker with sequencers for the F-35 program. The Agreement required Martin-Baker to
       exclusively procure all sequencers for the full duration of the F-35 program from TESP. In 2012, Martin-
       Baker initiated a new design for a sequencer for the F-35. Ultimately, Martin-Baker’s new design was
       accepted in August 2016. Instead of using TESP to manufacture the sequencer, Martin-Baker has been
       using another company for production thereby depriving TESP of revenue and profit for a majority of
       the life of the F-35 program.

       In addition to the F-35 sequencer, TESP had been the sole source provider of both NACES and FAST
       sequencers since 1985 to the U.S. Navy (‘Navy’), as well as performing repairs and replacements for
       said sequencers. In 2013, the Navy requested a new sequencer which would serve as the retrofit
       replacement of the NACES sequencer, or FASTr. It is my understanding that Martin-Baker submitted
       a proposal for two options to the U.S. Navy, a Martin-Baker designed sequencer and a TESP designed
       sequencer. Further, I understand that Martin-Baker artificially inflated the price of the TESP designed
       sequencer and stated the TESP designed sequencer was not fully compliant with Martin-Baker
       specifications although those specifications were not directed by the Navy. I understand that the Navy
       asked questions about the TESP sequencer to which TESP responded to Martin-Baker, but Martin-
       Baker never forwarded such responses to the Navy and, ultimately, withdrew TESP’s proposal. It is
       my understanding the contract was awarded to Martin-Baker and as a result, TESP will lose revenue
       and profit related to future retrofitting, future F-18/T-45 builds and the corresponding repairs and
       replacements.




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        a. F-35 Joint Strike Fighter (JSF)

            The following is excerpted from Lockheed Martin’s f35.com website:

            In 1997, Lockheed Martin was selected as one of two companies to participate in the Joint
            Strike Fighter concept demonstration phase. In October 2001, the Lockheed Martin X-35 was
            chosen as the winner of the competition and teamed with Northrop Grumman and BAE
            Systems to begin production.

            The first production F-35A rolled out of the assembly in Fort Worth, Texas, in February of 2006.
            Later that year, the stealthy F-35 Joint Strike Fighter, in development by the United States and
            eight other countries, was named the "Lightning II," in homage to two earlier fighters.

            In December of 2006, the F-35 completed its first flight. Over the next few years, flight and
            ground test articles of all three variants rolled off the production line and began collecting test
            points. The first production F-35 conducted its first flight in February of 2011 with deliveries of
            the aircraft beginning that very same year.

            In 2012, the F-35 ramped up with 30 aircraft deliveries and increased testing operations across
            the United States. The program reached several milestones in weapons separation testing,
            angle of attack testing, aerial refueling training, and surpassed more than 5,000 flight hours
            with more than 2,100 recorded flights in that year.

            The F-35 variants are:

            F-35A – Conventional takeoff and landing
            F-35B – Short takeoff/vertical landing
            F-35C – Carrier variant

            At this time, there are 12 global participants including as partners (9 total) the United States,
            Australia, Canada, Denmark, Italy, Netherlands, Norway, Turkey and the United Kingdom.
            Foreign military sales will be made to Israel, Japan and South Korea 1.

            The program requires 300,000 parts from 1,500 international suppliers. Factories for the F-35
            are located in Fort Worth, Texas, Cameri, Italy and Nagoya, Japan.

    b. Teledyne Electronic Safety Products

        The following is excerpted from TESP’s website 2:

                Teledyne Electronic Safety Products (TESP) is a Strategic Business Unit of Teledyne
                Technologies and has been a separate business unit of the Teledyne family since February
                of 1986. The electronics unit was initially created as a spin-off from Teledyne Systems in
                order to develop an electronic ejection seat controller.

                TESP designed, developed, and qualified the U.S. Navy's NACES Ejection Seat Electronic
                Sequencer, which has been in continuous production since 1989. These sequencers are
                currently flying in the T-45 and F/A-18. With that success, TESP moved on to become a


1F35.com/about/fast-facts.
2
 TESP is now a strategic business unit of Teledyne RISI, Inc., a California corporation and a wholly-
owned subsidiary of Teledyne Technologies Incorporated.

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                  second source supplier for the USAF ACES II electronic ejection seat sequencer. We have
                  produced over 9000 ACES II models along with specialized training courses and
                  supporting test equipment.

                  In 1989, TESP was selected to design, qualify, and produce the first electronic interseat
                  sequencing system for use in the 2-place A-12 aircraft for the U.S. Navy. In 1992, TESP
                  was again selected to design, develop, qualify, and produce the electronic interseat
                  sequencing system for the USAF's F-22 Raptor. In 2005, The F-22 system was adapted
                  to the F-15 and is currently flying in South Korean, Singapore, and Saudi Arabia. Teledyne
                  then designed, developed, qualified and delivered a field/maintenance support test set for
                  the F-22/F-15 escape system.

                  TESP completed a major upgrade of the NACES ejection seat sequencer and production
                  deliveries began in 2002. The new unit is called NACES/FAST. The entire electronics
                  package has been redesigned and modernized to allow for expanded growth capabilities
                  along with significantly reduced costs. The embedded firmware was programmed using
                  ADA. TESP modified this configuration for use in the new F-35 Joint Strike Fighter ejection
                  seat.

                  In 2003, a jointly funded program to replace the USAF ACES II sequencer with a fully digital
                  (Digital Recovery Sequencer, DRS) design was initiated by Goodrich / USAF / TESP. This
                  new digital unit was qualified in 2005 and to date over 7,500 units have been
                  delivered. Then in 2012, an upgrade to the DRS was initiated to add solid state pressure
                  sensors and 3 axis accelerometers. This upgrade is called Modernized ACES Seat
                  Sequencer (MASS) which was qualified in Q2 2014. To date, over 1,000 MASS units have
                  been delivered to the USAF and FMS users.


      c. History of TESP and Martin-Baker F-35 Agreements

              •   Teaming Agreement – January 13, 2000 (Per Memorandum of Understanding)

              •   Memorandum of Agreement – February 19, 2001 – TESP exclusive provider of
                  Electronic Products with MBA. Seems to apply to all products. This agreement was
                  “ended” by both parties 3.

              •   Letter of Agreement July 3, 2003 – TESP exclusive provider to MBA for JSF 4.

          On January 13, 2000, MBA and TESP signed a Memorandum of Understanding for the JSF
          program that stated in part:

           “Proposal Support – It is agreed that MBA will, in any proposal which the Parties submit and
           in all discussions with respect thereto, identify ESP as a (sic) their exclusive supplier of
           sequencers and related electronic equipment (subject to acceptable pricing) to be used in the
           ejection seat or escape system, and will state in such proposal or discussions the relationship
           of the Parties as hereinafter set forth.”

          The January 2000 Memorandum of Understanding was replaced by a Memorandum of Agreement
          on February 19, 2001 that granted exclusivity to TESP with regard to electronic products sourced
          by Martin-Baker for apparently all ejection systems to be made by Martin-Baker. This agreement


3   Mike Summer Exhibit M146.
4   John Martin Exhibit Martin 01.

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              was canceled by both parties and replaced by the Letter of Agreement on July 3, 2003 for the F-
              35 program.

              The July 3, 2003 Letter of Agreement states in part “In consideration of TESP’s investment in the
              JSF program, TESP will act as the exclusive supplier of sequencers to be used in the JSF ejection
              system for the full duration of the JSF program.”

              TESP received exclusive orders for development costs and Low Rate Initial Production (LRIP)
              numbers 1 through 9 and a partial order for LRIP 10. Future, LRIP and Full Rate Production (‘FRP’)
              orders will not be awarded to TESP but have or will be awarded to a different manufacturer by
              Martin-Baker.

V.         Opinions of Economic Loss

           My opinion of TESP’s economic loss is summarized in Table 1.

                                Summary of Damages (By Program) at Net Present Value

                           Description                 JSF                FASTr                Total

                   Total - Damages              $      47,205,889 $        24,832,113 $        72,038,002

                                                           Table 1

           My opinion is supported by my Schedules attached as part of this report that show my calculations,
           assumptions and sources of information that I have relied upon.

           a. Analysis of Loss – Joint-Strike Fighter Program

              I measure the lost profit suffered by TESP from the JSF program to be $47,205,899, at net present
              value, as of September 1, 2017.

           b. Quantity of JSF Sequencers

                  There are four types of sequencer sales TESP expected to build and deliver as part of the JSF
                  program:

                     •   Deliveries for each plane built – Original Deliveries
                     •   Beyond Economic Replacements
                     •   Spares – To support installed quantities on Original and Replaced Deliveries
                     •   Periodic Replacements

              In addition, TESP would have also earned revenue and profit from repairs of returned sequencers.

             i.      Original Deliveries

                     As of the date of this report, 3,352 JSF aircraft have been committed for purchase or delivered
                     to the U.S, its partners and other countries 5. Based upon historical experience, successful long-
                     term programs typically experience add-on orders over time. TESP conservatively estimates
                     1,259 additional planes will be ordered over the life of the program, or a 38% increase.

     5   GAO Report 16-390

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                  Therefore, I have used 4,474 planes for the life of the JSF program as the forecast number of
                  planes upon which to base my estimate of sequencers TESP would have sold. Schedule 6.0
                  of this report provides a detailed listing of the total plane deliveries I have tallied on an annual
                  basis over the period of 2011 through 2044.

                                  Summary of JSF Committed, Delivered and Additional Future Orders

                                         Description                 U.S.        Other           Total

                                Committed                              2,457             895         3,352
                                Less: Delivered (Thru 2015)              108              29           137
                                 Subtotal                              2,349             866         3,215
                                Additional (A)                       (A)           (A)               1,259
                                Total - To be Delivered                                              4,474

                                Note (A) Based on other programs and TESP experience, additional JSF will
                                be contracted closer to FRP (Full Rate Production).

                                                                    Table 2


                      The overall estimate of 38% increase over original orders is conservative when compared
                      to past programs. Table 3 shows two US Military aircraft programs, F-16
                      (ACES/DRS/MASS) and F-18 (NACES/FAST) in which TESP supplied sequencers
                      presenting the original quantities of planes ordered along with the approximate number of
                      planes produced, to date.

                                        F-16 and F-18 Aircraft Originally Ordered & Delivered to Date

                                       Description              F-16              F-18           Combined

                                Original Ordered                       1,008               800           1,808
                                Delivered to Date                      4,588             2,300           6,888
                                Factor                                  455%              288%            381%

                                                                      Table 3


            ii.       Sequencer Spares

                      According to TESP, spare sequencers are typically carried at a rate of 5% of active in-
                      service aircraft. As a result, I have used 5% to estimate 229 spare sequencers TESP would
                      have delivered as part of the JSF program. See Schedule 6.0 for details.

           iii.       Repairs

                      I have estimated the number of repairs using historical rates of repairs experienced by
                      TESP in its NACES and FAST sequencer programs 6. In these programs, the number of
                      returns during the first 5 years averaged .87% of active in-service units. In years 6 through
                      16, returns averaged 2.23% of active in-service units and after 16 years returns in the




6   Schedule 6.2

                                                                7
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                 NACES program were 3.45% of active in-service units. I have provided the historical data
                 for returns on Schedule 6.2 789.

           iv.   Periodic Replacements

                 According to TESP, the sequencers have a service life of at least 20 years. I have assumed
                 that after 20 years, sequencers will require replacement. The replacements in my model,
                 shown on Schedule 3.0, begin in 2036 and mirror the deliveries of sequencers that would
                 have occurred in 2016 and after. Replacement sales of sequencers through 2060 total
                 3,710 units.

           v.    Beyond Economic Repair Replacements (BERs)

                 A small number of sequencers returned to TESP for repair cannot be economically
                 repaired. In such cases, it is expected that a new sequencer will be sold. I calculate this
                 type of sale on Schedule 6.0 (shown also on Schedule 3.0) which totals 454 units on
                 original delivers and 202 units on replacement units through 2060. The estimate for BERs
                 is based upon the historical experience for NACES and FAST which is displayed on
                 Schedule 6.2.

           vi.   Summary of JSF Sequencer Sales Quantities

                 Table 4 summarizes my calculation of the total deliveries of JSF sequencers TESP has
                 lost as a result of Martin-Baker’s decision to replace TESP as the manufacturer of
                 sequencers.
                                        Summary of JSF Sequencer Damage Quantities
                                                      Original         Periodic
                                 Description         Deliveries      Replacement          Total

                           Deliveries                       4,934           3,710             8,644
                           BER - Replacements                 454             202               656
                            Total                           5,388           3,912             9,300

                                                           Table 4



    c. Lost Profit - JSF

       I determine lost profit on the sale of JSF sequencers by calculating sales per unit multiplied by the
       lost quantity to derive loss of sales. I then deduct TESP’s variable costs to manufacture the
       sequencers. Variable costs are comprised of material used to make the sequencer, direct labor
       and manufacturing overhead.

      i.     Sales Price

             First some background on sales pricing in the aerospace industry. In some cases, parties use
             a “pricing curve” model to estimate price that considers:

                 •   Economies of scale


7 Source for NACES – ‘NACES ROR Return History 26JUL2017.xls’
8 Source for FAST – ‘FAST ROR Return History 26JUL2017.xls’
9 Source for Ejections – ‘Ejection Report.xls’


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                   •                                 Learning curve
                   •                                 Inflation

               The model is a logarithmic equation that predicts a reduction in price, leaving aside inflation,
               as the quantity of an order for a period of time, typically one year, increases as illustrated in
               Chart 1. It should be noted, that a similar pricing curve was referenced in the Letter of
               Agreement 10, signed by both Martin-Baker and TESP, dated June 24, 2003.

                                                                    Chart 1 - JSF Pricing Curve - Selling Price/Unit v. Total Sequencer Sales
                                                     $20,000




                                                     $19,000




                                                     $18,000
                       Selling Price Per Sequencer




                                                                      $17,128
                                                     $17,000




                                                     $16,000




                                                     $15,000




                                                     $14,000
                                                                                                                                                      $13,807



                                                     $13,000
                                                               30         80           130          180                 230    280              330
                                                                                                Total Sequencers Sold




                   In fact, TESP and Martin-Baker used this type of model to determine the pricing of the JSF
                   sequencers TESP sold in the Development Phase through LRIP 8 based upon a starting
                   point proposal on pricing submitted by TESP early in the program. In 2014, BAE/JSF
                   Program Office demanded that the parties resubmit pricing proposals using updated costs
                   to make the JSF parts including TESP’s sequencer. This process basically “reset” the
                   starting point of TESP’s price used for LRIP 9.

                   In determining sales price, I have used TESP’s last agreed price for a full LRIP lost (LRIP
                   9) which was $17,317 for the manufacture of a baseline of 55 units in 2015. TESP also
                   provided the pricing curve formula to me which I have used to determine the price for each
                   year of the life of the program through 2060 which is shown on Schedule 3.0.

         ii.   Direct Cost of Material

               The variable direct cost of material is determined as 25.80% of sales value. This factor is based
               upon the combined cost of TESP’s deliveries of both JSF and FAST units during the years
               2013 through 2015, before any impact from this dispute affected TESP.




 10   Letter of Agreement TESP Reference MBA-JSF-T&C-2003-193

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       iii.   Direct Labor & Manufacturing Overhead

              Direct labor is often considered to be 100% variable in the measurement of lost profits and it is
              the easiest assumption to make; and sometimes it is the correct approach. In practice,
              however, direct labor costs tend to be semi-variable. In other words, to some extent the cost
              will vary with sales but a base level of labor will exist regardless of production levels within a
              normal fluctuation range.

              Manufacturing overhead is also semi-variable. Some costs, such as facility costs, are fixed
              costs and do not vary with sales unless sales either increase so much or decline so much that
              the entity must change locations to accommodate the new circumstances.

              In government contracting, direct labor and manufacturing overhead are connected due to the
              requirements of government accounting standards. Direct labor is incurred only when time can
              be directly charged to a particular project. If some of the time for a worker that assembles a
              product cannot be charged to a project, that worker’s time and cost is then charged to
              manufacturing overhead as indirect labor.

              In TESP’s case, approximately 78% of its manufacturing overhead is comprised of indirect
              labor 11. Thus, in assessing the variable costs to be used in determining lost profit, I have
              analyzed the behavior of direct labor and manufacturing overhead on a combined basis.

              Chart 2 compares TESP’s labor and overhead with sales for 2013 through 2017. 12

                                                                                        Chart 2 - Comparision of Total Labor + Overhead to Actual Sales (Less Returns)
                                                                                                                   2013 - 2017 (Annualized)
                                                                           $16,000


                                                                                                                               $14,379
                                                                           $14,000   $13,801

                                                                                                           $12,928
                        USD (In Thousands $000s) - Shown in 2013 Dollars




                                                                           $12,000
                                                                                                                                                   $10,896


                                                                           $10,000

                                                                                                                                                                      $8,538

                                                                            $8,000



                                                                            $6,000



                                                                            $4,000

                                                                                               $2,733                                    $2,806
                                                                                                                     $2,519                                  $2,542            $2,402
                                                                            $2,000



                                                                                $-
                                                                                          2013                  2014                2015                2016              2017
                                                                                                        Net Sales (Less Returns)     Total - Labor + Overhead



              Chart 2 shows that during 2013 through 2017 that despite wide fluctuations in sales, labor and
              overhead have changed only slightly.


 11Per Eileen Fried, Group Controller, Teledyne Reynolds.
 12I have adjusted all amounts into 2013 dollars using 2.5% inflation rate. Additionally, 2017 is based on
 YTD through June, which I have doubled to present on an annualized basis.

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             The data for TESP does indicate that labor and overhead fluctuate as expected with changes
             in sales. In other words, when sales increase the costs increase slightly and when sales decline
             the costs decline slightly, as well.

             Based on my analysis shown on Schedule 8.0, the proportion of labor and overhead that is
             variable is 27.34% of total labor and overhead. Thus, total labor and manufacturing overhead
             historically is 19.48% 13 of sales value of which 27.34%, or 5.33%, varies with sales.

       iv.   Other Operational Costs

             I have not adjusted sales for costs such as Sales and General and Administrative (SG&A)
             expenses as I deem such costs to be fixed and unrelated to sales volume. TESP’s financial
             history demonstrates that SG&A remain essentially flat except for unusual legal costs incurred
             in 2016 and 2017. Furthermore, overhead normally factored into job cost proposals from other
             divisions of Teledyne are also deemed to be fixed and will not vary with TESP’s sales volume.

      d. JSF Repair Revenue and Profit Losses

         As with any program such as this, TESP would have earned revenue and profit on repairs to
         sequencers sold as part of the JSF program. I earlier discussed that I estimated unit returns based
         upon TESP’s historical experience with NACES and FAST shown on Schedule 6.2. I have
         determined the revenue for repairs based upon the most recent pricing of repairs TESP performed
         on returned FAST sequencers. This price is determined from shipping reports I have been provided
         by TESP 14. This price is used in the pricing curve provided to me by TESP that is very similar to
         pricing curve described for sequencer sales.

         I have used similar factors for materials, labor and overhead experienced on recent repairs of both
         NACES and FAST sequencers 15 as described for the sequencer sales to determine the variable
         costs to deduct from sales value as shown on Schedule 3.1.

      e. Discounting to Net Present Value

         Most of the lost profits I calculate for TESP extend long into the future. Therefore, it is necessary
         to discount such losses to present value to properly represent the current value of the losses in a
         lump sum amount. My measurement of profit losses through 2060 for the JSF sequencer and
         related repairs totals $219.8 million. Discounted to net present value, these losses are
         approximately $47.2 million using a discount rate of 8.0%.

         The derivation of the discount and capitalization rates is shown on Schedule 5.0.

         •   The discount rate is computed as follows:

             (i)    I start with the long-term (20 Year) U.S. Treasury Bond Yield of 2.48% as of 6/23/17.

             (ii)   I add the equity risk premium of 5.73% calculated by multiplying the beta for Teledyne
                    5.97% equity risk premium for the market as a whole, derived from the Duff and Phelps
                    survey of historical stock and bond returns through 2016. 16 I utilize the “supply side”


 13
    Schedule 7.0 shows labor (5.92%) and overhead (13.56%) percentages separately before application
 of variable proportion.
 14 Source ‘Mapics Shipper Log_HSNO.xls’
 15 See Schedules 7.0 and 7.2.
 16 2017 Valuation Handbook, U.S. Guide to cost of Capital, Appendix 3; Duff & Phelps.


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                       equity risk premium, which adjusts the excess returns solely to increases in
                       price/earnings ratios, which are not likely to recur.
                             (a) Beta of .96 as derived from two advisory services, Charles Schwab and Ned
                                 Davis.
                             (b) Equity risk premium of 5.73% = .96 x 5.97%.

               (iii)   I add to that 1.72%, which is the average premium over the average stock for stocks with
                       market capitalization of $1.3 billion. I assume that the aerospace and defense division of
                       the company is 30% of the total value of the company, since revenues for that division
                       are 30% of total revenues. The current market capitalization of Teledyne is $4.37 billion.

               (iv)    I add to the resulting number the industry risk premium. In this case, the average risk
                       premium for companies in SIC 372, Aircrafts and Parts, is negative 1.32% 17, meaning
                       that the industry is less risky than the market as a whole.

               (v)     I elect not to add a specific company risk, given the size, professional management and
                       low risk of the industry. Also, the parent company of TESP is publicly traded so that
                       equity risk is valued by the market. I considered the following factors:

                                     1.    Positive
                                          a. Long and successful history.
                                          b. Proprietary products.
                                          c. Strong and competent management.

                                     2. Negative Factors
                                        a. A large portion of business is dependent on US Congress;
                                           revenues dropped in past years due to the budget sequester.
                                        b. Competitive environment for many products implies price
                                           softness.

               (vi)    Considering all the above factors, it is my opinion that there should be a 0% specific
                       company risk factor for the subject company.

               (vii)   Summing all the above factors, gives an equity discount rate of 8.61%.

               (viii) The standard method in valuations such as this is to discount the subject company by
                      the Weighted Average Cost of Capital, or WACC, which calculates a weighted average
                      of the cost of equity capital and the cost of debt capital. According to the 2016 annual
                      report, long term debt was $611,700,000 at year end. The weighted average interest rate
                      was 3.27%. Teledyne’s overall tax report for 2016 was 20.9%. The ratio of debt to debt
                      plus market capitalization is 12%; weighting the cost of debt by 12% and the cost of
                      equity capital by 88% results in a WACC of 7.89%.

               (ix)    This amount is rounded to 8.0%.

       f.   Analysis of FASTr Lost Profits

            In my opinion, TESP has suffered damages related to the FASTr program totaling $73.2 million or
            $24.8 million, at net present value.

            As described earlier, FASTr is the program to replace Legacy NACES sequencers that have been
            in service since 1989. The NACES sequencer program was succeeded by TESP’s FAST

 17   2017 Valuation Handbook, U.S. Guide to cost of Capital, Appendix 3A; Duff & Phelps.

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             sequencers in 2002 but many of the NACES sequencers are still in service. It is my understanding
             that Martin-Baker has been awarded the FASTr sequencer by the Navy and TESP believes Martin-
             Baker used unfair business practices to win the program. If not for the unfair business practices
             allegedly used by Martin-Baker, TESP believes it would have won the program especially because
             TESP has been the exclusive provider of the NACES and FAST sequencers for the last 28 years.
             As a result of this situation, TESP also believes it will be unable to be the provider of replacement
             sequencers for FAST when they have reached the end of their service lives.

             The FASTr sequencers will also be used for 213 new F-18 seats that will be manufactured
             beginning in 2018.

        i.       Lost FASTr Sequencers

                 Based upon discussions with representatives of TESP, it would have begun deliveries of FASTr
                 units in 2018 for the new F-18s 18 and it would have begun deliveries of FASTr replacement of
                 NACES units in 2019 which is 30 years after NACES were delivered. I then assume
                 replacement of FAST sequencers would have begun in 2022 which is 20 years after FAST
                 sequencers were first delivered. It is my understanding that the NACES program did not have
                 necessary funds allocated at the 20-year mark and was delayed. The replacement quantities
                 are based upon the deliveries that occurred 30/20 years (for NACES/FAST, respectively)
                 earlier adjusted downward by 13% to reflect sequencers no longer in service due to ejections
                 and other reasons. 19 My calculation of total FASTr units is shown on Schedule 4.0 and totals
                 3,242 sequencers through 2060. More detail of my calculated lost units is shown on Schedule
                 6.1.

       ii.       Sales Price of FASTr Sequencers

                 I have used the same pricing structure and price curve for FASTr as used for the JSF
                 sequencers. According to representatives of TESP, the cost to manufacture a FASTr
                 sequencer would be similar to the cost to make a JSF sequencer so that the sales prices should
                 be essentially the same.

      iii.       Variable Material Costs, Direct Labor and Manufacturing Overhead

                 I have used the same factors for material and direct labor and manufacturing overhead as used
                 for the JSF damage calculations for sequencer deliveries and repairs, respectively.

      iv.        FASTr Repair Revenue and Lost Profit

                 This category of damage to TESP is calculated in a similar way to the method I used to
                 determine repair profit losses for the JSF program. Schedule 6.1 shows the detail of my
                 calculation of repair units that totals 1,947 sequencers. As for the JSF program, I based my
                 estimate of repair units on TESP’s historical experience for NACES and FAST shown on
                 Schedule 6.2.

                 I have determined the revenue for repairs based upon the most recent pricing of repairs TESP
                 performed on returned FAST sequencers. This price is determined from shipping reports I have
                 been provided by TESP 20. This price is used in the pricing curve provided to me by TESP that
                 is very similar to the pricing curve described for sequencer sales.


 18 See Email from Steven Bordeaux (US Navy) to Bob Ferguson (TESP)
 19 Schedule 6.2.
 20 Source ‘Mapics Shipper Log_HSNO.xls’


                                                         13
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                      I have used similar factors for materials, labor and overhead experienced on recent repairs of
                      both NACES and FAST sequencers 21 as described for the sequencer sales to determine the
                      variable costs to deduct from sales value as shown on Schedule 3.1.

              g. Conclusion

                  I conclude that TESP has suffered a loss of income totaling $72,038,002 at net present value in
                  economic damages resulting from the improper loss of the JSF and FASTr program revenues
                  caused by Martin-Baker.

 VI.          Assumptions

              Many of my assumptions that I have used have been mentioned in various portions of this narrative
              report. In addition, the section of this report that contains my schedules and calculations include
              references to assumptions I have made and sources of information used for my calculations and
              opinions.

VII.          Documents Provided or Used

              A listing of the documents I have received in this case and that I have relied upon to determine my
              opinions is provided in Exhibit 4 of this report and the footnotes of the accompanying schedules.

VIII.         Additional Work

              As in many cases, I expect that I may receive additional information as discovery continues. I may be
              asked to analyze such information and to provide or amend my opinions as required. Also, I expect to
              prepare for deposition and trial and to testify as requested.

 IX.          Compensation

              I am being compensated for my work at a rate of $425 per hour. My hourly rate for testimony is $495.


              Sincerely,




              Mark R. Newton, CPA | ABV | CFF




        21   See Schedules 7.0 and 7.2.

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                                EXHIBIT 1


                        REPORT SCHEDULES
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                         Exhibit I
                 Expert Report Schedules

                    Report Date: August 31, 2017
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                                            Index of Schedules



Schedule
 Number                                                  Description

  1.0      Summary of Total Damages to Teledyne
             Incurred and Future Damages
  2.0      Joint Strike Fighter Damages (MBA Design/TESP Build) - Sequencers and Repairs
             By Year
  2.1      Future Advance Sequencer Technology Replacement (FASTr) (Replacement and Repairs) - Damages
             By Year
  3.0      Joint Strike Fighter (JSF) - Sequencer Damages
             By Year
  3.1      Joint Strike Fighter (JSF) - Spares/Repairs
             By Year
  4.0      Future Advance Sequencer Technology Replacement (FASTr) - Sequencers
             By Year
  4.1      Future Advance Sequencer Technology Replacement (FASTr) - Spares/Repairs
             By Year
  5.0      Cost of Capital
             Aerospace/Defense Segment of Teledyne Technologies Incorporated
  6.0      Joint Strike Fighter (JSF) - Sequencer and Repair Quantities
             By Year
  6.1      Future Advance Sequencer Technology Replacement (FASTr) - Sequencer and Repair Quantities
             By Year
  6.2      Analysis of Return Rates, Beyond Repairs and Ejections
             Legacy NACES and FAST Sequencers
  7.0      Analysis of Variable Expense and Lost Margin
             Sequencer Production and Repairs
  7.1      JSF and FAST Sequencer Production
             Revenue and Cost (By Job Number)
  7.2      JSF and FAST Sequencer Repairs
             Revenue and Cost (By Job Number)
  8.0      Determination of Variable Labor/Overhead Percentage
             Based on TESP Profit and Loss Statements
  8.1      Teledyne - Electronics Safety Products (TESP) - Profit and Loss Statements
             2013 - YTD June 2017
  8.2      Teledyne Technologies - Aerospace and Defense Electronics Segment
             Selected Financial Information
  8.3      Teledyne Technologies
             Consolidated Financial Statements
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                                           Summary of Total Damages to Teledyne
                                              Incurred and Future Damages




                     Description                     JSF              FASTr             Total            Comments

Schedule Reference                                   2.0                2.1

Damages Incurred Through August 31, 2017        $    1,882,660   $      (166,667) $      1,715,994

Future Damages (Through 2060)                       45,323,228        24,998,780        70,322,008   At Net Present Value

Total - Combined Damages                        $   47,205,889   $    24,832,113    $   72,038,002
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                                                      Prepared for Rose Walker LLP                                                           Schedule 2.0
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                      Joint Strike Fighter Damages (MBA Design/TESP Build) - Sequencers and Repairs
                                                         By Year



                                    Joint Strike Fighter (MBA Designed/TESP Build)                        Total                         Present
                                                       Sequencer                                           Lost       Discount          Value of
            Year               Sequencers                 Repairs             Totals                     Income        Factor         Lost Income

Schedule Reference                 3.0                     3.1                                                          5.0
Discount Rate                                                                                                             8.00%

2016                       $           780,359   $                7,368   $                787,727   $      787,727        1.00   $        787,727
2017                                 1,627,597                   14,802                  1,642,399        1,642,399        1.00          1,642,399
2018                                 1,776,891                   22,491                  1,799,382        1,799,382        1.08          1,666,095
2019                                 1,951,687                   37,855                  1,989,542        1,989,542        1.17          1,705,711
2020                                 2,304,399                   46,315                  2,350,713        2,350,713        1.26          1,866,072
2021                                 2,060,975                  145,364                  2,206,338        2,206,338        1.36          1,621,724
2022                                 2,410,512                  186,930                  2,597,442        2,597,442        1.47          1,767,776
2023                                 2,470,775                  222,535                  2,693,310        2,693,310        1.59          1,697,242
2024                                 2,532,544                  267,547                  2,800,091        2,800,091        1.71          1,633,826
2025                                 2,607,216                  298,408                  2,905,623        2,905,623        1.85          1,569,818
2026                                 2,672,396                  338,811                  3,011,207        3,011,207        2.00          1,506,353
2027                                 2,739,206                  389,353                  3,128,559        3,128,559        2.16          1,449,128
2028                                 2,807,686                  433,484                  3,241,170        3,241,170        2.33          1,390,082
2029                                 2,877,878                  479,494                  3,357,372        3,357,372        2.52          1,333,259
2030                                 2,949,825                  527,455                  3,477,280        3,477,280        2.72          1,278,589
2031                                 3,036,734                  577,438                  3,614,173        3,614,173        2.94          1,230,485
2032                                 3,300,732                  844,780                  4,145,511        4,145,511        3.17          1,306,838
2033                                 3,396,962                  923,161                  4,320,123        4,320,123        3.43          1,261,003
2034                                 3,509,971                  995,068                  4,505,040        4,505,040        3.70          1,217,572
2035                                 3,612,103                1,069,920                  4,682,023        4,682,023        4.00          1,171,672
2036                                 4,673,587                1,168,262                  5,841,849        5,841,849        4.32          1,353,627
2037                                 5,971,649                1,249,802                  7,221,452        7,221,452        4.66          1,549,349
2038                                 6,280,741                1,291,768                  7,572,509        7,572,509        5.03          1,504,322
2039                                 5,959,617                1,346,030                  7,305,647        7,305,647        5.44          1,343,804
2040                                 6,231,620                1,379,681                  7,611,301        7,611,301        5.87          1,296,321
2041                                 5,577,394                1,529,410                  7,106,804        7,106,804        6.34          1,120,738
2042                                 5,815,324                1,603,028                  7,418,352        7,418,352        6.85          1,083,212
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                                                             Prepared for Rose Walker LLP                                                         Schedule 2.0
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                              Joint Strike Fighter Damages (MBA Design/TESP Build) - Sequencers and Repairs
                                                                 By Year



                                           Joint Strike Fighter (MBA Designed/TESP Build)                      Total                         Present
                                                              Sequencer                                         Lost        Discount         Value of
              Year                    Sequencers                Repairs              Totals                   Income         Factor        Lost Income
2043                                        5,572,392               1,643,103             7,215,495             7,215,495         7.40           975,548
2044                                        5,327,402               1,684,181             7,011,582             7,011,582         7.99           877,758
2045                                        4,550,095               1,700,886             6,250,981             6,250,981         8.63           724,574
2046                                        4,626,012               1,717,363             6,343,375             6,343,375         9.32           680,819
2047                                        4,702,838               1,746,944             6,449,782             6,449,782        10.06           640,962
2048                                        4,800,495               1,763,234             6,563,729             6,563,729        10.87           603,968
2049                                        4,879,648               1,779,234             6,658,883             6,658,883        11.74           567,337
2050                                        5,001,639               1,794,919             6,796,558             6,796,558        12.68           536,173
2051                                        5,105,198               1,810,261             6,915,459             6,915,459        13.69           505,142
2052                                        5,823,107               2,202,773             8,025,880             8,025,880        14.79           542,827
2053                                        5,990,928               2,242,404             8,233,332             8,233,332        15.97           515,609
2054                                        6,186,265               2,282,636             8,468,901             8,468,901        17.25           491,075
2055                                        6,340,921               2,339,702             8,680,623             8,680,623        18.63           466,067
2056                                          923,307               2,298,347             3,221,654             3,221,654        20.12           160,159
2057                                          946,390               2,355,806             3,302,196             3,302,196        21.72           152,003
2058                                          970,049               2,414,701             3,384,750             3,384,750        23.46           144,262
2059                                          994,301               2,475,069             3,469,369             3,469,369        25.34           136,916
2060                                        1,019,158               2,536,945             3,556,103             3,556,103        27.37           129,943
 Total                            $       165,696,524 $            54,185,069 $         219,881,593      $   219,881,593                 $    47,205,889

By Period
 Incurred (Through 8/31/17)       $         1,865,424   $               17,236   $           1,882,660   $     1,882,660          1.00   $    1,882,660
 Future Losses                            163,831,100               54,167,832             217,998,933       217,998,933          4.81       45,323,228
Total - By Period                 $       165,696,524   $           54,185,069   $         219,881,593   $   219,881,593          4.66   $   47,205,889
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                                                       Prepared for Rose Walker LLP                                                       Schedule 2.1
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                 Future Advance Sequencer Technology Replacement (FASTr) (Replacement and Repairs) - Damages
                                                          By Year



                                FASTr Retrofit and New F-18 Build (TESP Design/Build)                 Total                              Present
                                                     Sequencer                                         Lost        Discount              Value of
          Year                Sequencers              Repairs                  Total                 Income         Factor             Lost Income

Schedule Reference                4.0                    4.1                                                         5.0
Discount Rate                                                                                                              8.00%

2016                      $                     - $                  -   $                  -    $            -            1.00    $               -
2017                                     (250,000)                   -               (250,000)         (250,000)           1.00             (250,000)
2018                                      369,550                    -                369,550           369,550            1.08              342,176
2019                                    1,401,036                7,935              1,408,971         1,408,971            1.17            1,207,965
2020                                    1,835,824               23,630              1,859,454         1,859,454            1.26            1,476,095
2021                                    2,155,006               32,025              2,187,030         2,187,030            1.36            1,607,533
2022                                    3,183,133               56,515              3,239,648         3,239,648            1.47            2,204,850
2023                                    2,322,354               65,946              2,388,300         2,388,300            1.59            1,505,034
2024                                    2,402,040              204,334              2,606,373         2,606,373            1.71            1,520,794
2025                                    2,758,384              241,904              3,000,288         3,000,288            1.85            1,620,962
2026                                    2,285,936              281,091              2,567,027         2,567,027            2.00            1,284,153
2027                                    2,533,655              313,515              2,847,169         2,847,169            2.16            1,318,790
2028                                    2,704,869              355,964              3,060,832         3,060,832            2.33            1,312,739
2029                                    2,928,252              409,064              3,337,316         3,337,316            2.52            1,325,294
2030                                    2,917,877              455,429              3,373,306         3,373,306            2.72            1,240,358
2031                                    2,282,320              494,538              2,776,858         2,776,858            2.94              945,412
2032                                    1,322,529              516,363              1,838,891         1,838,891            3.17              579,695
2033                                    1,164,601              548,652              1,713,253         1,713,253            3.43              500,082
2034                                    2,452,549              582,211              3,034,760         3,034,760            3.70              820,201
2035                                    1,939,204              819,267              2,758,471         2,758,471            4.00              690,305
2036                                    1,748,625              870,691              2,619,316         2,619,316            4.32              606,927
2037                                      913,879              892,458              1,806,337         1,806,337            4.66              387,546
2038                                      386,214              914,770              1,300,983         1,300,983            5.03              258,448
2039                                      395,869              937,639              1,333,508         1,333,508            5.44              245,286
2040                                      405,766              938,314              1,344,080         1,344,080            5.87              228,917
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                                                           Prepared for Rose Walker LLP                                                     Schedule 2.1
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                   Future Advance Sequencer Technology Replacement (FASTr) (Replacement and Repairs) - Damages
                                                            By Year



                                    FASTr Retrofit and New F-18 Build (TESP Design/Build)                 Total                            Present
                                                         Sequencer                                         Lost        Discount            Value of
            Year                  Sequencers              Repairs                  Total                 Income         Factor           Lost Income

2041                                       392,954                926,737               1,319,692         1,319,692           6.34             208,114
2042                                       379,059                889,963               1,269,023         1,269,023           6.85             185,300
2043                                       364,014                862,970               1,226,984         1,226,984           7.40             165,890
2044                                       373,114                833,985               1,207,099         1,207,099           7.99             151,113
2045                                       356,439                828,888               1,185,327         1,185,327           8.63             137,396
2046                                       338,428                796,343               1,134,771         1,134,771           9.32             121,792
2047                                       346,889                788,911               1,135,800         1,135,800          10.06             112,873
2048                                       355,561                780,581               1,136,142         1,136,142          10.87             104,543
2049                                       335,139                771,310               1,106,449         1,106,449          11.74              94,270
2050                                       343,517                761,055               1,104,572         1,104,572          12.68              87,139
2051                                       320,937                749,770               1,070,707         1,070,707          13.69              78,210
2052                                       328,960                721,839               1,050,799         1,050,799          14.79              71,070
2053                                       303,996                707,938               1,011,934         1,011,934          15.97              63,372
2054                                       311,596                676,435                 988,031           988,031          17.25              57,292
2055                                       283,988                642,804                 926,792           926,792          18.63              49,760
2056                                       291,087                606,946                 898,033           898,033          20.12              44,644
2057                                       260,528                568,756                 829,284           829,284          21.72              38,173
2058                                       227,469                528,122                 755,591           755,591          23.46              32,204
2059                                       233,155                466,083                 699,238           699,238          25.34              27,595
2060                                       196,389                400,233                 596,622           596,622          27.37              21,801
 Total                        $         48,902,689   $         24,271,924   $          73,174,612    $   73,174,612                  $      24,832,113

By Period
 Incurred (Through 8/31/17)   $           (166,667) $                   -   $            (166,667)   $     (166,667)          1.00   $        (166,667)
 Future Losses                          49,069,355             24,271,924              73,341,279        73,341,279           2.93          24,998,780
Total - By Period             $         48,902,689 $           24,271,924   $          73,174,612    $   73,174,612           2.95   $      24,832,113
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                                                                                                                                     Prepared for Rose Walker LLP                                                                                                                                        Schedule 3.0
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                                                                                                                        Joint Strike Fighter (JSF) - Sequencer Damages
                                                                                                                                             By Year



                                                                        MBA JSF Sequencers Delivered (A)                                                                                  $/Unit (B)                                                          Total $
                                   Original Sales                             Replacement Sales                                  Combined                          (E)          Direct       Total                                                  Direct              Total
            Year       Original Beyond Repair/                    Replacement Beyond Repair                                  Beyond Repair/                      Selling       Material      Labor     Variable      Lost                          Material             Labor          Variable           Lost
   Year     No.       Deliveries  Replaced          Total          Deliveries     Replaced          Total         Deliveries   Replaced           Total           Price         Cost         Cost        OH        Income         Revenue           Cost                Cost             OH             Income

Curve Used (C)                                                                                                                                                       92%
Escalation (D)                                                                                                                                                      2.5%
% of Sales                                                                                                                                                       100.00%         25.80%        1.62%       3.71%     68.87%

2016              1         66               -               66             -               -                 -         66               -                 66   $ 17,167   $      4,429    $    278    $     637   $ 11,824   $    1,133,016   $      292,310     $       18,338   $       42,010   $      780,359
2017              2        148               -              148             -               -                 -        148               -                148     15,967          4,119         258          592     10,997        2,363,134          609,671             38,247           87,620        1,627,597
2018              3        159               -              159             -               -                 -        159               -                159     16,226          4,186         263          602     11,175        2,579,897          665,594             41,755           95,657        1,776,891
2019              4        172               -              172             -               -                 -        172               -                172     16,475          4,250         267          611     11,347        2,833,686          731,069             45,863          105,067        1,951,687
2020              5        202               -              202             -               -                 -        202               -                202     16,563          4,273         268          614     11,408        3,345,794          863,189             54,151          124,055        2,304,399
2021              6        172               1              173             -               -                 -        172               1                173     17,297          4,462         280          641     11,913        2,992,363          772,007             48,431          110,950        2,060,975
2022              7        200               1              201             -               -                 -        200               1                201     17,412          4,492         282          646     11,993        3,499,862          902,938             56,645          129,767        2,410,512
2023              8        200               1              201             -               -                 -        200               1                201     17,848          4,605         289          662     12,292        3,587,358          925,511             58,061          133,011        2,470,775
2024              9        200               1              201             -               -                 -        200               1                201     18,294          4,720         296          678     12,600        3,677,042          948,649             59,512          136,337        2,532,544
2025             10        200               2              202             -               -                 -        200               2                202     18,740          4,835         303          695     12,907        3,785,459          976,620             61,267          140,357        2,607,216
2026             11        200               2              202             -               -                 -        200               2                202     19,208          4,956         311          712     13,230        3,880,095        1,001,035             62,799          143,865        2,672,396
2027             12        200               2              202             -               -                 -        200               2                202     19,689          5,080         319          730     13,560        3,977,097        1,026,061             64,369          147,462        2,739,206
2028             13        200               2              202             -               -                 -        200               2                202     20,181          5,206         327          748     13,899        4,076,525        1,051,713             65,978          151,149        2,807,686
2029             14        200               2              202             -               -                 -        200               2                202     20,685          5,337         335          767     14,247        4,178,438        1,078,005             67,627          154,927        2,877,878
2030             15        200               2              202             -               -                 -        200               2                202     21,202          5,470         343          786     14,603        4,282,899        1,104,955             69,318          158,801        2,949,825
2031             16        200               3              203             -               -                 -        200               3                203     21,720          5,603         352          805     14,959        4,409,084        1,137,510             71,360          163,479        3,036,734
2032             17        200              17              217             -               -                 -        200              17                217     22,085          5,698         357          819     15,211        4,792,386        1,236,399             77,564          177,691        3,300,732
2033             18        200              18              218             -               -                 -        200              18                218     22,624          5,837         366          839     15,582        4,932,104        1,272,445             79,825          182,872        3,396,962
2034             19        200              20              220             -               -                 -        200              20                220     23,164          5,976         375          859     15,954        5,096,184        1,314,777             82,481          188,955        3,509,971
2035             20        200              21              221             -               -                 -        200              21                221     23,731          6,122         384          880     16,344        5,244,471        1,353,034             84,881          194,453        3,612,103
2036             21        200              22              222            66               -                66        266              22                288     23,561          6,079         381          874     16,228        6,785,657        1,750,648            109,825          251,597        4,673,587
2037             22        200              22              222           148               -               148        348              22                370     23,433          6,046         379          869     16,140        8,670,335        2,236,881            140,328          321,477        5,971,649
2038             23        200              23              223           158               -               158        358              23                381     23,935          6,175         387          887     16,485        9,119,110        2,352,661            147,591          338,117        6,280,741
2039             24        155              23              178           171               -               171        326              23                349     24,793          6,396         401          919     17,076        8,652,865        2,232,373            140,045          320,829        5,959,617
2040             25        134              22              156           201               -               201        335              22                357     25,344          6,539         410          940     17,456        9,047,790        2,334,261            146,437          335,472        6,231,620
2041             26        113              22              135           170               1               171        283              23                306     26,464          6,827         428          981     18,227        8,097,910        2,089,199            131,063          300,253        5,577,394
2042             27         92              21              113           198               1               199        290              22                312     27,062          6,982         438        1,003     18,639        8,443,364        2,178,324            136,654          313,061        5,815,324
2043             28         71              20               91           197               1               198        268              21                289     27,995          7,223         453        1,038     19,282        8,090,646        2,087,325            130,946          299,983        5,572,392
2044             29         50              20               70           196               1               197        246              21                267     28,970          7,474         469        1,074     19,953        7,734,941        1,995,556            125,189          286,795        5,327,402
2045             30          -              18               18           197               2               199        197              20                217     30,444          7,854         493        1,129     20,968        6,606,357        1,704,390            106,923          244,949        4,550,095
2046             31          -              17               17           196               2               198        196              19                215     31,240          8,060         506        1,158     21,516        6,716,582        1,732,827            108,707          249,036        4,626,012
2047             32          -              16               16           195               2               197        195              18                213     32,057          8,270         519        1,189     22,079        6,828,127        1,761,605            110,512          253,172        4,702,838
2048             33          -              15               15           195               2               197        195              17                212     32,877          8,482         532        1,219     22,644        6,969,917        1,798,186            112,807          258,429        4,800,495
2049             34          -              14               14           194               2               196        194              16                210     33,737          8,704         546        1,251     23,236        7,084,841        1,827,835            114,667          262,690        4,879,648
2050             35          -              13               13           194               3               197        194              16                210     34,581          8,922         560        1,282     23,817        7,261,962        1,873,531            117,533          269,258        5,001,639
2051             36          -              12               12           194               3               197        194              15                209     35,466          9,150         574        1,315     24,427        7,412,320        1,912,322            119,967          274,833        5,105,198
2052             37          -              10               10           209              17               226        209              27                236     35,825          9,243         580        1,328     24,674        8,454,664        2,181,239            136,837          313,480        5,823,107
2053             38          -               9                9           209              19               228        209              28                237     36,702          9,469         594        1,361     25,278        8,698,325        2,244,102            140,781          322,515        5,990,928
2054             39          -               8                8           211              20               231        211              28                239     37,581          9,696         608        1,393     25,884        8,981,938        2,317,272            145,371          333,031        6,186,265
2055             40          -               7                7           211              21               232        211              28                239     38,521          9,938         623        1,428     26,531        9,206,486        2,375,204            149,005          341,356        6,340,921
2056             41          -               5                5             -              21                21          -              26                 26     51,560         13,302         834        1,912     35,512        1,340,564          345,855             21,697           49,705          923,307
2057             42          -               5                5             -              21                21          -              26                 26     52,849         13,635         855        1,960     36,400        1,374,078          354,502             22,239           50,948          946,390
2058             43          -               5                5             -              21                21          -              26                 26     54,170         13,976         877        2,009     37,310        1,408,430          363,364             22,795           52,222          970,049
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                                                                                                                                                       Prepared for Rose Walker LLP                                                                                                                             Schedule 3.0
                                                                                                                                                      RE: Teledyne RISI v. Martin-Baker                                                                                                                         Page 9 of 29


                                                                                                                                        Joint Strike Fighter (JSF) - Sequencer Damages
                                                                                                                                                             By Year



                                                                                MBA JSF Sequencers Delivered (A)                                                                                        $/Unit (B)                                                    Total $
                                    Original Sales                                      Replacement Sales                                        Combined                            (E)      Direct       Total                                              Direct          Total
               Year     Original Beyond Repair/                           Replacement Beyond Repair                                          Beyond Repair/                        Selling   Material      Labor     Variable     Lost                       Material         Labor           Variable           Lost
    Year       No.     Deliveries  Replaced                 Total          Deliveries      Replaced         Total               Deliveries     Replaced             Total           Price     Cost         Cost        OH       Income       Revenue          Cost            Cost              OH             Income
2059            44              -             5                      5                -             21              21                   -              26                  26      55,525     14,325         899       2,059     38,242       1,443,641        372,448          23,365            53,527          994,301
2060            45              -             5                      5                -             21              21                   -              26                  26      56,913     14,683         921       2,110     39,198       1,479,732        381,760          23,949            54,865        1,019,158
Total                      4,934            454                  5,388           3,710            202            3,912              8,644             656                9,300                                                             $ 240,577,473   $ 62,067,164 $     3,893,700   $    8,920,085    $ 165,696,524




Notes:
(A) See Schedule 6.0
(B) See Schedule 7.0
(C) Based on discussions with TESP a 92% Pricing Curve for Sequencer Sales is standard and appropriate.
(D) 2.5% Escalation reflects standard inflationary growth over time.
(E) Starting point pricing based on agreed Selling Price per unit for LRIP 9 (2015 - $17,317 for Baseline 50 Units. See 'JSF Pricing Curve 2015.xls' for details.
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                                                                              Joint Strike Fighter (JSF) - Spares/Repairs
                                                                                                By Year



                                      Net Repairs (A)                                          $/Unit (B)                                                        Total $
                                                                        (E)          Direct      Total                                                 Direct              Total
                 Year    Original     Replacement                     Selling       Material     Labor    Variable       Lost                         Material             Labor           Variable           Lost
       Year      No.    Deliveries     Deliveries       Total          Price         Cost         Cost      OH         Income        Revenue           Cost                Cost              OH             Income

Curve Used (C)                                                                98%
Escalation (D)                                                               2.5%
% of Sales                                                                100.00%    16.55%        2.67%       6.68%    74.11%

2016               -              1               -               1   $    9,943    $ 1,645    $    265    $     664   $ 7,368   $        9,943   $        1,645     $           265   $          664   $         7,368
2017               1              2               -               2        9,987      1,653         267          667     7,401           19,975            3,305                 533            1,333            14,802
2018               2              3               -               3       10,117      1,674         270          675     7,497           30,350            5,022                 810            2,026            22,491
2019               3              5               -               5       10,216      1,691         273          682     7,571           51,082            8,453               1,364            3,410            37,855
2020               4              6               -               6       10,416      1,724         278          695     7,719           62,498           10,342               1,669            4,172            46,315
2021               5             19               -              19       10,324      1,708         276          689     7,651          196,155           32,460               5,237           13,093           145,364
2022               6             24               -              24       10,510      1,739         281          702     7,789          252,245           41,743               6,735           16,838           186,930
2023               7             28               -              28       10,725      1,775         286          716     7,948          300,291           49,693               8,018           20,045           222,535
2024               8             33               -              33       10,940      1,810         292          730     8,107          361,030           59,745               9,639           24,099           267,547
2025               9             36               -              36       11,185      1,851         299          747     8,289          402,674           66,636              10,751           26,879           298,408
2026              10             40               -              40       11,430      1,891         305          763     8,470          457,195           75,658              12,207           30,518           338,811
2027              11             45               -              45       11,675      1,932         312          779     8,652          525,396           86,945              14,028           35,071           389,353
2028              12             49               -              49       11,938      1,975         319          797     8,847          584,947           96,799              15,618           39,046           433,484
2029              13             53               -              53       12,208      2,020         326          815     9,047          647,034          107,074              17,276           43,190           479,494
2030              14             57               -              57       12,487      2,066         333          834     9,254          711,752          117,784              19,004           47,510           527,455
2031              15             61               -              61       12,774      2,114         341          853     9,466          779,200          128,945              20,805           52,012           577,438
2032              16             88               -              88       12,954      2,144         346          865     9,600        1,139,953          188,644              30,437           76,093           844,780
2033              17             94               -              94       13,252      2,193         354          885     9,821        1,245,722          206,147              33,261           83,153           923,161
2034              18             99               -              99       13,563      2,244         362          905    10,051        1,342,754          222,204              35,851           89,630           995,068
2035              19            104               -             104       13,882      2,297         371          927    10,288        1,443,759          238,919              38,548           96,372         1,069,920
2036              20            110               1             111       14,202      2,350         379          948    10,525        1,576,462          260,879              42,091          105,230         1,168,262
2037              21            114               2             116       14,539      2,406         388          970    10,774        1,686,494          279,088              45,029          112,575         1,249,802
2038              22            114               3             117       14,898      2,465         398          994    11,041        1,743,122          288,459              46,541          116,355         1,291,768
2039              23            114               5             119       15,263      2,526         408        1,019    11,311        1,816,345          300,576              48,496          121,242         1,346,030
2040              24            113               6             119       15,645      2,589         418        1,044    11,594        1,861,753          308,090              49,709          124,273         1,379,681
2041              25            110              19             129       15,998      2,647         427        1,068    11,856        2,063,799          341,526              55,103          137,760         1,529,410
2042              26            108              24             132       16,387      2,712         438        1,094    12,144        2,163,139          357,965              57,756          144,391         1,603,028
2043              27            104              28             132       16,797      2,780         448        1,121    12,448        2,217,218          366,914              59,199          148,001         1,643,103
2044              28             99              33             132       17,217      2,849         460        1,149    12,759        2,272,648          376,087              60,679          151,701         1,684,181
2045              29             94              36             130       17,655      2,922         471        1,179    13,084        2,295,191          379,817              61,281          153,205         1,700,886
2046              30             88              40             128       18,105      2,996         483        1,209    13,417        2,317,424          383,497              61,875          154,690         1,717,363
2047              31             82              45             127       18,562      3,072         496        1,239    13,755        2,357,341          390,102              62,941          157,354         1,746,944
2048              32             76              49             125       19,035      3,150         508        1,271    14,106        2,379,323          393,740              63,528          158,821         1,763,234
2049              33             70              53             123       19,520      3,230         521        1,303    14,465        2,400,914          397,313              64,104          160,263         1,779,234
2050              34             64              57             121       20,017      3,313         534        1,336    14,834        2,422,079          400,815              64,669          161,675         1,794,919
2051              35             58              61             119       20,528      3,397         548        1,370    15,212        2,442,782          404,241              65,222          163,057         1,810,261
2052              36             53              89             142       20,933      3,464         559        1,397    15,512        2,972,441          491,891              79,364          198,412         2,202,773
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                                                                                     Joint Strike Fighter (JSF) - Spares/Repairs
                                                                                                       By Year



                                            Net Repairs (A)                                          $/Unit (B)                                                    Total $
                                                                                 (E)       Direct      Total                                               Direct            Total
                   Year       Original      Replacement                        Selling    Material     Labor    Variable     Lost                         Material           Labor            Variable            Lost
      Year         No.       Deliveries      Deliveries          Total          Price      Cost         Cost      OH       Income       Revenue            Cost              Cost               OH              Income
2053                37                 47              94              141      21,460      3,551         573     1,432     15,904        3,025,919           500,741            80,792           201,982         2,242,404
2054                38                 40             100              140      22,001      3,641         587     1,469     16,305        3,080,209           509,725            82,241           205,606         2,282,636
2055                39                 34             106              140      22,552      3,732         602     1,505     16,712        3,157,214           522,468            84,297           210,746         2,339,702
2056                40                 28             106              134      23,145      3,830         618     1,545     17,152        3,101,409           513,234            82,807           207,021         2,298,347
2057                41                 28             106              134      23,723      3,926         633     1,584     17,581        3,178,945           526,065            84,878           212,197         2,355,806
2058                42                 28             106              134      24,317      4,024         649     1,623      18,020       3,258,418           539,216            86,999           217,502         2,414,701
2059                43                 28             106              134      24,924      4,125         665     1,664     18,471        3,339,879           552,697            89,174           222,939         2,475,069
2060                44                 28             106              134      25,548      4,228         682     1,705     18,932        3,423,376           566,514            91,404           228,513         2,536,945
  Total                            2,679           1,381             4,060                                                            $  73,117,795   $   12,099,827 $        1,952,238   $     4,880,661   $    54,185,069



Notes:
(A) See Schedule 6.0
(B) See Schedule 7.0
(C) Based on discussions with TESP a 98% Pricing Curve for Repairs is standard and appropriate.
(D) 2.5% Escalation reflects standard inflationary growth over time.
(E) Selling price based on 2016-17 40 FAST Units delivered at $8,929. See 'Mapics Shipper Log_HSNO.xls' for support.
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                                                                                                                                                                              Prepared for Rose Walker LLP                                                                                                                                                                     Schedule 4.0
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                                                                                                                                              Future Advance Sequencer Technology Replacement (FASTr) - Sequencers
                                                                                                                                                                            By Year



                                                                                           FASTr Sequencers Delivered (A)                                                                                                             $/Unit (B)                                                                      Total $
                                             Original Sales                                    Replacement Sales                                              Combined                                                 Direct           Total                                                           Direct         Total                           Capitalized
                 Year         Original      Beyond Repair/                        Replacement    Beyond Repair                                              Beyond Repair/                           Selling          Material          Labor          Variable          Lost                          Material        Labor          Variable          Tooling            Lost
    Year         No.         Deliveries        Replaced             Total          Deliveries       Replaced           Total                Deliveries        Replaced              Total             Price            Cost             Cost             OH            Income         Revenue           Cost           Cost             OH              Costs (F)        Income
                                                                                                                                                                                                       (E)
Curve Used (C)                                                                                                                                                                                              92%
Escalation (D)                                                                                                                                                                                             2.5%
% of Sales                                                                                                                                                                                             100.00%           25.80%            1.62%           3.71%         68.87%

2016                  1                 -                  -                 -                 -                    -                 -               -                  -                  -    $          -     $           -   $            -   $           -   $          -   $            -   $          -   $           -   $            -   $             -   $          -
2017                  2                 -                  -                 -                 -                    -                 -               -                  -                  -               -                 -                -               -              -                -              -               -                -           250,000       (250,000)
2018                  3                48                  -                48                 -                    -                 -              48                  -                 48          18,740             4,835              303             695         12,907          899,535        232,073          14,559           33,353           250,000        369,550
2019                  4               118                  -               118                 -                    -                 -             118                  -                118          17,239             4,447              279             639         11,873        2,034,187        524,805          32,923           75,423                 -      1,401,036
2020                  5               156                  -               156                 -                    -                 -             156                  -                156          17,086             4,408              277             634         11,768        2,665,463        687,669          43,140           98,830                 -      1,835,824
2021                  6               182                  -               182                 -                    -                 -             182                  -                182          17,192             4,435              278             637         11,841        3,128,888        807,229          50,640          116,012                 -      2,155,006
2022                  7               276                  -               276                 -                    -                 -             276                  -                276          16,763             4,325              271             622         11,545        4,621,642      1,192,349          74,800          171,360                 -      3,183,133
2023                  8               187                  -               187                 -                    -                 -             187                  -                187          17,999             4,644              291             667         12,397        3,371,863        869,915          54,573          125,021                 -      2,322,354
2024                  9               188                  1               189                 -                    -                 -             188                  1                189          18,427             4,754              298             683         12,691        3,487,560        899,764          56,445          129,311                 -      2,402,040
2025                 10               214                  1               215                 -                    -                 -             214                  1                215          18,596             4,798              301             689         12,808        4,004,943      1,033,245          64,819          148,495                 -      2,758,384
2026                 11               168                  1               169                 -                    -                 -             168                  1                169          19,623             5,063              318             728         13,515        3,318,988        856,274          53,717          123,061                 -      2,285,936
2027                 12               183                  2               185                 -                    -                 -             183                  2                185          19,900             5,134              322             738         13,706        3,678,654        949,065          59,538          136,396                 -      2,533,655
2028                 13               192                  2               194                 -                    -                 -             192                  2                194          20,284             5,233              328             752         13,971        3,927,243      1,013,199          63,562          145,614                 -      2,704,869
2029                 14               204                  2               206                 -                    -                 -             204                  2                206          20,636             5,324              334             765         14,213        4,251,576      1,096,874          68,811          157,639                 -      2,928,252
2030                 15               198                  2               200                 -                    -                 -             198                  2                200          21,234             5,478              344             787         14,625        4,236,513      1,092,988          68,567          157,081                 -      2,917,877
2031                 16               145                  2               147                 -                    -                 -             145                  2                147          22,585             5,827              366             837         15,555        3,313,737        854,919          53,632          122,866                 -      2,282,320
2032                 17                75                  2                77                 -                    -                 -              75                  2                 77          25,027             6,457              405             928         17,237        1,920,201        495,397          31,078           71,197                 -      1,322,529
2033                 18                63                  2                65                 -                    -                 -              63                  2                 65          26,191             6,757              424             971         18,039        1,690,903        436,240          27,367           62,695                 -      1,164,601
2034                 19               143                  3               146                 -                    -                 -             143                  3                146          24,328             6,277              394             902         16,756        3,560,896        918,684          57,632          132,030                 -      2,452,549
2035                 20                93                 16               109                 -                    -                 -              93                 16                109          25,837             6,666              418             958         17,795        2,815,562        726,394          45,569          104,395                 -      1,939,204
2036                 21                78                 16                94                 -                    -                 -              78                 16                 94          26,951             6,953              436             999         18,563        2,538,857        655,006          41,091           94,135                 -      1,748,625
2037                 22                28                 16                44                 -                    -                 -              28                 16                 44          30,291             7,815              490           1,123         20,863        1,326,875        342,324          21,475           49,198                 -        913,879
2038                 23                 -                 16                16                 -                    -                 -               -                 16                 16          35,047             9,042              567           1,299         24,138          560,750        144,669           9,076           20,791                 -        386,214
2039                 24                 -                 16                16                 -                    -                 -               -                 16                 16          35,923             9,268              581           1,332         24,742          574,769        148,286           9,303           21,311                 -        395,869
2040                 25                 -                 16                16                 -                    -                 -               -                 16                 16          36,821             9,500              596           1,365         25,360          589,138        151,993           9,535           21,844                 -        405,766
2041                 26                 -                 15                15                 -                    -                 -               -                 15                 15          38,036             9,813              616           1,410         26,197          570,537        147,194           9,234           21,154                 -        392,954
2042                 27                 -                 14                14                 -                    -                 -               -                 14                 14          39,312            10,142              636           1,458         27,076          550,362        141,989           8,908           20,406                 -        379,059
2043                 28                 -                 13                13                 -                    -                 -               -                 13                 13          40,655            10,489              658           1,507         28,001          528,518        136,354           8,554           19,596                 -        364,014
2044                 29                 -                 13                13                 -                    -                 -               -                 13                 13          41,672            10,751              674           1,545         28,701          541,731        139,762           8,768           20,086                 -        373,114
2045                 30                 -                 12                12                 -                    -                 -               -                 12                 12          43,127            11,126              698           1,599         29,703          517,520        133,516           8,376           19,188                 -        356,439
2046                 31                 -                 11                11                 -                    -                 -               -                 11                 11          44,670            11,525              723           1,656         30,766          491,369        126,770           7,953           18,219                 -        338,428
2047                 32                 -                 11                11                 -                    -                 -               -                 11                 11          45,787            11,813              741           1,698         31,535          503,653        129,939           8,152           18,674                 -        346,889
2048                 33                 -                 11                11                 -                    -                 -               -                 11                 11          46,931            12,108              760           1,740         32,324          516,245        133,187           8,355           19,141                 -        355,561
2049                 34                 -                 10                10                 -                    -                 -               -                 10                 10          48,659            12,554              788           1,804         33,514          486,593        125,537           7,875           18,042                 -        335,139
2050                 35                 -                 10                10                 -                    -                 -               -                 10                 10          49,876            12,868              807           1,849         34,352          498,758        128,676           8,072           18,493                 -        343,517
2051                 36                 -                  9                 9                 -                    -                 -               -                  9                  9          51,775            13,357              838           1,920         35,660          465,973        120,217           7,542           17,277                 -        320,937
2052                 37                 -                  9                 9                 -                    -                 -               -                  9                  9          53,069            13,691              859           1,968         36,551          477,622        123,223           7,730           17,709                 -        328,960
2053                 38                 -                  8                 8                 -                    -                 -               -                  8                  8          55,172            14,234              893           2,046         37,999          441,377        113,872           7,144           16,365                 -        303,996
2054                 39                 -                  8                 8                 -                    -                 -               -                  8                  8          56,551            14,590              915           2,097         38,949          452,411        116,719           7,322           16,774                 -        311,596
2055                 40                 -                  7                 7                 -                    -                 -               -                  7                  7          58,904            15,197              953           2,184         40,570          412,326        106,377           6,673           15,288                 -        283,988
2056                 41                 -                  7                 7                 -                    -                 -               -                  7                  7          60,376            15,577              977           2,239         41,584          422,635        109,037           6,840           15,670                 -        291,087
2057                 42                 -                  6                 6                 -                    -                 -               -                  6                  6          63,044            16,265            1,020           2,338         43,421          378,264         97,589           6,122           14,025                 -        260,528
2058                 43                 -                  5                 5                 -                    -                 -               -                  5                  5          66,053            17,041            1,069           2,449         45,494          330,265         85,206           5,345           12,246                 -        227,469
2059                 44                 -                  5                 5                 -                    -                 -               -                  5                  5          67,704            17,467            1,096           2,510         46,631          338,522         87,336           5,479           12,552                 -        233,155
2060                 45                 -                  4                 4                 -                    -                 -               -                  4                  4          71,285            18,391            1,154           2,643         49,097          285,140         73,564           4,615           10,572                 -        196,389
  Total                             2,938                304             3,242                 -                    -                 -           2,938                304              3,242                                                                                     $   71,728,566   $ 18,505,426   $   1,160,913   $    2,659,538   $       500,000   $ 48,902,689




Notes:
(A) See Schedule 6.1
(B) See Schedule 7.0
(C) Based on discussions with TESP a 92% Pricing Curve for Sequencer Sales is standard and appropriate.
(D) 2.5% Escalation reflects standard inflationary growth over time.
(E) Starting point pricing based on agreed Selling Price per unit for LRIP 9 (2015 - $17,317 for Baseline 50 Units. See 'JSF Pricing Curve 2015.xls' for details.
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                                                                                                                                                  Prepared for Rose Walker LLP                                                                                                                 Schedule 4.0
                                                                                                                                                 RE: Teledyne RISI v. Martin-Baker                                                                                                            Page 13 of 29


                                                                                                                     Future Advance Sequencer Technology Replacement (FASTr) - Sequencers
                                                                                                                                                   By Year



                                                                               FASTr Sequencers Delivered (A)                                                                                   $/Unit (B)                                            Total $
                                       Original Sales                              Replacement Sales                              Combined                                            Direct      Total                                     Direct     Total               Capitalized
              Year        Original    Beyond Repair/                  Replacement    Beyond Repair                              Beyond Repair/                          Selling      Material     Labor      Variable     Lost             Material    Labor    Variable    Tooling        Lost
   Year       No.        Deliveries      Replaced          Total       Deliveries       Replaced           Total   Deliveries     Replaced              Total            Price        Cost        Cost         OH       Income   Revenue    Cost       Cost       OH        Costs (F)    Income
                                                                                                                                                                          (E)
(F) Source: 'ESP-P13-042-OUT-022H.pdf' (PROPOSAL for the FASTr Development (FAST-rTOC))
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                                                                                              Prepared for Rose Walker LLP                                                                                     Schedule 4.1
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                                                         Future Advance Sequencer Technology Replacement (FASTr) - Spares/Repairs
                                                                                        By Year



                                   Repairs (A)                                               $/Unit (B)                                                            Total $
                                                                        (E)      Direct        Total                                                     Direct              Total
            Year       Original    Replacement                        Selling   Material       Labor      Variable      Lost                            Material             Labor           Variable           Lost
   Year     No.       Deliveries    Deliveries       Total             Price     Cost          Cost         OH        Income           Revenue           Cost                Cost              OH             Income

Curve Used (C)                                                            98%
Escalation (D)                                                           2.5%
% of Sales                                                            100.00%       16.55%       2.67%        6.68%       74.11%

2016              -            -                 -            -   $         -   $       -    $       -    $       -   $        -   $            -   $            -     $             -   $            -   $           -
2017              1            -                 -            -             -           -            -            -            -                -                -                   -                -               -
2018              2            -                 -            -             -           -            -            -            -                -                -                   -                -               -
2019              3            1                 -            1        10,707       1,772          286          715        7,935           10,707            1,772                 286              715           7,935
2020              4            3                 -            3        10,629       1,759          284          709        7,877           31,887            5,277                 851            2,128          23,630
2021              5            4                 -            4        10,804       1,788          288          721        8,006           43,214            7,151               1,154            2,885          32,025
2022              6            7                 -            7        10,895       1,803          291          727        8,074           76,262           12,620               2,036            5,091          56,515
2023              7            8                 -            8        11,124       1,841          297          743        8,243           88,988           14,726               2,376            5,940          65,946
2024              8           25                 -           25        11,029       1,825          294          736        8,173          275,729           45,629               7,362           18,405         204,334
2025              9           29                 -           29        11,256       1,863          301          751        8,342          326,427           54,018               8,716           21,789         241,904
2026             10           33                 -           33        11,494       1,902          307          767        8,518          379,307           62,769              10,127           25,319         281,091
2027             11           36                 -           36        11,752       1,945          314          784        8,709          423,060           70,010              11,296           28,240         313,515
2028             12           40                 -           40        12,009       1,987          321          802        8,899          480,340           79,489              12,825           32,063         355,964
2029             13           45                 -           45        12,267       2,030          328          819        9,090          551,994           91,346              14,738           36,846         409,064
2030             14           49                 -           49        12,542       2,076          335          837        9,294          614,560          101,700              16,409           41,022         455,429
2031             15           52                 -           52        12,833       2,124          343          857        9,510          667,334          110,433              17,818           44,545         494,538
2032             16           53                 -           53        13,147       2,176          351          878        9,743          696,784          115,307              18,604           46,511         516,363
2033             17           55                 -           55        13,461       2,228          359          899        9,975          740,355          122,517              19,767           49,419         548,652
2034             18           57                 -           57        13,783       2,281          368          920       10,214          785,641          130,011              20,977           52,442         582,211
2035             19           79                 -           79        13,994       2,316          374          934       10,370        1,105,525          182,947              29,517           73,795         819,267
2036             20           82                 -           82        14,328       2,371          383          956       10,618        1,174,918          194,430              31,370           78,427         870,691
2037             21           82                 -           82        14,686       2,430          392          980       10,884        1,204,291          199,291              32,154           80,387         892,458
2038             22           82                 -           82        15,054       2,491          402        1,005       11,156        1,234,398          204,273              32,958           82,397         914,770
2039             23           82                 -           82        15,430       2,553          412        1,030       11,435        1,265,258          209,380              33,782           84,457         937,639
2040             24           80                 -           80        15,827       2,619          423        1,056       11,729        1,266,169          209,531              33,807           84,518         938,314
2041             25           77                 -           77        16,241       2,688          434        1,084       12,036        1,250,547          206,946              33,389           83,475         926,737
2042             26           72                 -           72        16,680       2,760          445        1,113       12,361        1,200,924          198,734              32,065           80,162         889,963
2043             27           68                 -           68        17,125       2,834          457        1,143       12,691        1,164,500          192,706              31,092           77,731         862,970
2044             28           64                 -           64        17,584       2,910          469        1,174       13,031        1,125,386          186,233              30,048           75,120         833,985
2045             29           62                 -           62        18,040       2,985          482        1,204       13,369        1,118,508          185,095              29,864           74,661         828,888
2046             30           58                 -           58        18,527       3,066          495        1,237       13,730        1,074,592          177,828              28,691           71,730         796,343
2047             31           56                 -           56        19,010       3,146          508        1,269       14,088        1,064,564          176,168              28,424           71,060         788,911
2048             32           54                 -           54        19,506       3,228          521        1,302       14,455        1,053,323          174,308              28,124           70,310         780,581
2049             33           52                 -           52        20,016       3,312          534        1,336       14,833        1,040,813          172,238              27,790           69,475         771,310
2050             34           50                 -           50        20,539       3,399          548        1,371       15,221        1,026,975          169,948              27,420           68,551         761,055
2051             35           48                 -           48        21,078       3,488          563        1,407       15,620        1,011,746          167,428              27,014           67,535         749,770
2052             36           45                 -           45        21,646       3,582          578        1,445       16,041          974,055          161,191              26,007           65,019         721,839
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                                                                           #:2584
                                                                                             Prepared for Rose Walker LLP                                                                                    Schedule 4.1
                                                                                            RE: Teledyne RISI v. Martin-Baker                                                                               Page 15 of 29


                                                            Future Advance Sequencer Technology Replacement (FASTr) - Spares/Repairs
                                                                                           By Year



                                     Repairs (A)                                           $/Unit (B)                                                           Total $
                                                                      (E)        Direct      Total                                                      Direct            Total
              Year      Original     Replacement                    Selling     Material     Labor      Variable      Lost                             Material           Labor           Variable            Lost
    Year      No.      Deliveries     Deliveries       Total         Price       Cost        Cost         OH        Income        Revenue               Cost              Cost              OH              Income
2053           37               43               -           43       22,216       3,676         593       1,483      16,464          955,298              158,087           25,506            63,767           707,938
2054           38               40               -           40       22,820       3,776         609       1,523      16,911          912,788              151,052           24,371            60,929           676,435
2055           39               37               -           37       23,443       3,880         626       1,565      17,373          867,405              143,542           23,160            57,900           642,804
2056           40               34               -           34       24,089       3,986         643       1,608      17,851          819,018              135,534           21,868            54,670           606,946
2057           41               31               -           31       24,758       4,097         661       1,653      18,347          767,484              127,006           20,492            51,230           568,756
2058           42               28               -           28       25,452       4,212         680       1,699      18,862          712,653              117,933           19,028            47,570           528,122
2059           43               24               -           24       26,206       4,337         700       1,749      19,420          628,936              104,079           16,793            41,982           466,083
2060           44               20               -           20       27,004       4,469         721       1,803      20,012          540,078               89,374           14,420            36,051           400,233
  Total                     1,947                -        1,947                                                                 $  32,752,741      $     5,420,055 $        874,495   $     2,186,267   $    24,271,924



Notes:
(A) See Schedule 6.1
(B) See Schedule 7.0
(C) Based on discussions with TESP a 98% Pricing Curve for Repairs is standard and appropriate.
(D) 2.5% Escalation reflects standard inflationary growth over time.
(E) Beginning Selling Price for ROR (2015) based on Agreed Upon pricing for 30 Units per ESP-P14-060 Rev A. See Schedule 8.1 for Agreed Pricing.
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                                       Cost of Capital
                Aerospace/Defense Segment of Teledyne Technologies Incorporated



                                                                  Footnote
                          Description                             Reference                Computation

      Risk free Rate                                                 (A)                                       2.48%
      Equity Risk Premium                                            (B)                   5.97%
        Beta                                                         (C)                     0.96
      ERP x Beta                                                                           5.73%               5.73%
        Size Adjustment                                              (D)                                       1.72%
        Industry Adjustment                                          (E)                                      -1.32%
      Total - Cost of Equity                                                                                   8.61%

      Cost of Debt                                                   (F)                                       3.27%
        Tax Rate                                                     (H)                                      20.90%
      After Tax Cost of Debt                                                                                   2.59%

      Weight of Debt                                                 (I)                                      12.00%

      WACC                                                                                                     7.89%
      Rounded                                                                                                  8.00%



      Notes:
      (A) 20-Year US Treasury Constant Maturity Bond Rate as of 6/23/17
      (B) Duff & Phelps 2017 Valuation Handbook, Appendix 3
      (C) Per Charles Schwab, Ned Davis
      (D) Duff & Phelps 2017 Valuation Handbook, Appendix 3, Market Capitalization $1.3 billion (30% of whole;
      see 2016 annual report pp 41 - 44)

                       Description                             Revenue             % of Total          Rounded
      Instrumentation                                         $   876.70                 40.78%            40.00%
      Digital Imaging                                             398.70                 18.55%            20.00%
      Aerospace and defense                                       615.90                 28.65%            30.00%
      Engineered systems                                          258.60                 12.03%            10.00%
        Total                                                 $ 2,149.90                100.00%           100.00%

      (E) Duff & Phelps 2017 Valuation Handbook, Appendix 3a, SIC 372 Aircraft and Parts
      (F) 2016 Annual Report, page 45; assume same ratio as debt for whole company

                                                               Debt (MM)              Rate        Interest (MM)
                                                              $    182.50                 1.90% $            3.47
                                                                   100.00                 4.74%              4.74
                                                                     30.00                2.61%              0.78
                                                                     75.00                5.30%              3.98
                                                                     25.00                2.81%              0.70
                                                                     95.00                3.09%              2.94
                                                                   100.00                 3.28%              3.28
                                              Footnote (G)            4.20                3.27%              0.14
                                                              $    611.70                 3.27% $           20.02


      (G) Assume "other" debt is at same rate as weighted average of all other long term debt
      (H) 2016 Annual Report, page 64: Provision for Income Tax 2016 was $50.4 million, on $241.3 million
      Income Before Tax, assumes same rate as debt for entire company.
      (I) Long term debt of $611.7 million (including current portion), market capitalization of $4.37 billion implies
      12% debt/capitalization, assumes same ratio as entire company.
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                                                                                                                                                                    Prepared for Rose Walker LLP                                                                                                                                                Schedule 6.0
                                                                                                                                                                   RE: Teledyne RISI v. Martin-Baker                                                                                                                                           Page 17 of 29


                                                                                                                                               Joint Strike Fighter (JSF) - Sequencer and Repair Quantities
                                                                                                                                                                           By Year



                                                      MBA Original Deliveries                                                   MBA Original Delivery - Returns, Replace/Repair and In-Service                                          MBA Replacement Deliveries + Associated Repairs and BER Replacements                      MBA Delivered/Repairs
                (A)            MBA Aircraft Specific Deliveries         MBA                                     Beg. Year          Returns/Replacement                         Less:                    End Year          MBA         Beg. Year          Returns/Replacement                       Less:             End Year       Total
             Teledyne           Committed (B)               (C)       Teledyne                         MBA       Original                   Less:                   Ejection &           (I)            Original         20-Year     Replacement                    Less:               Ejection &        (I)      Replacement     Original/     Total
           (In-Service)      US       Partner/Other     Additional  Replacement                       Original    Active                Beyond Repair      Net         Other       Replacement           Active      A Replacement      Active                Beyond Repair      Net       Other     Replacement      Active     Replacement      Net
 Year       Deliveries    Deliveries   Deliveries      Purchases    Program (D)           Spares (E) Deliveries In-Service Returns (F)   Replace (G)     Repairs      OOS (H)        Deliveries        In-Service           (I)       In-Service  Returns (F)   Replace (G)    Repairs   OOS (H)      Deliveries    In-Service      +BER        Repairs

2011                 20            -                 -               -               -            -          -           -           -                -        -                -               -                -               -              -           -              -        -           -              -             -             -           -
2012                 48            -                 -               -               -            -          -           -           -                -        -                -               -                -               -              -           -              -        -           -              -             -             -           -
2013                 37            -                 -               -               -            -          -           -           -                -        -                -               -                -               -              -           -              -        -           -              -             -             -           -
2014                 48            -                 -               -               -            -          -           -           -                -        -                -               -                -               -              -           -              -        -           -              -             -             -           -
2015                 55            -                 -               -               -            -          -           -           -                -        -                -               -                -               -              -           -              -        -           -              -             -             -           -
2016                 23           46                17               -               -            3         66          66           1                -        1                -               -               66               -              -           -              -        -           -              -             -            66           1
2017                  -           63                23               -              58            4        148         214           2                -        2                -               -              214               -              -           -              -        -           -              -             -           148           2
2018                  -           70                26               -              58            5        159         373           3                -        3               (1)              -              372               -              -           -              -        -           -              -             -           159           3
2019                  -           80                29               -              58            5        172         544           5                -        5               (1)              -              543               -              -           -              -        -           -              -             -           172           5
2020                  -           86                32              20              57            7        202         745           6                -        6               (1)              -              744               -              -           -              -        -           -              -             -           202           6
2021                  -          105                39              20               -            8        172         916          20                1       19               (3)              -              913               -              -           -              -        -           -              -             -           173          19
2022                  -          125                46              19               -           10        200       1,113          25                1       24               (3)              -            1,110               -              -           -              -        -           -              -             -           201          24
2023                  -          125                46              19               -           10        200       1,310          29                1       28               (4)              -            1,306               -              -           -              -        -           -              -             -           201          28
2024                  -          125                46              19               -           10        200       1,506          34                1       33               (5)              -            1,501               -              -           -              -        -           -              -             -           201          33
2025                  -          125                46              19               -           10        200       1,701          38                2       36               (5)              -            1,696               -              -           -              -        -           -              -             -           202          36
2026                  -          125                46              19               -           10        200       1,896          42                2       40               (6)              -            1,890               -              -           -              -        -           -              -             -           202          40
2027                  -          125                46              19               -           10        200       2,090          47                2       45               (7)              -            2,083               -              -           -              -        -           -              -             -           202          45
2028                  -          125                46              19               -           10        200       2,283          51                2       49               (7)              -            2,276               -              -           -              -        -           -              -             -           202          49
2029                  -          125                46              19               -           10        200       2,476          55                2       53               (8)              -            2,468               -              -           -              -        -           -              -             -           202          53
2030                  -          108                40              42               -           10        200       2,668          59                2       57               (8)              -            2,660               -              -           -              -        -           -              -             -           202          57
2031                  -          104                38              48               -           10        200       2,860          64                3       61               (9)              -            2,851               -              -           -              -        -           -              -             -           203          61
2032                  -          100                37              53               -           10        200       3,051         105               17       88               (8)              -            3,043               -              -           -              -        -           -              -             -           217          88
2033                  -          100                37              53               -           10        200       3,243         112               18       94               (9)              -            3,234               -              -           -              -        -           -              -             -           218          94
2034                  -          100                37              53               -           10        200       3,434         119               20       99               (9)              -            3,425               -              -           -              -        -           -              -             -           220          99
2035                  -          100                37              53               -           10        200       3,625         125               21      104              (10)              -            3,615               -              -           -              -        -           -              -             -           221         104
2036                  -          100                37              53               -           10        200       3,815         132               22      110              (10)            (66)           3,739              66             66           1              -        1           -              -            66           288         111
2037                  -          100                37              53               -           10        200       3,939         136               22      114              (10)           (148)           3,781             148            214           2              -        2           -              -           214           370         116
2038                  -           87                32              71               -           10        200       3,981         137               23      114              (10)           (158)           3,813             158            372           3              -        3          (1)             -           372           381         117
2039                  -            -                 -             148               -            7        155       3,968         137               23      114              (10)           (171)           3,787             171            543           5              -        5          (1)             -           543           349         119
2040                  -            -                 -             128               -            6        134       3,921         135               22      113              (10)           (201)           3,710             201            744           6              -        6          (1)             -           744           357         119
2041                  -            -                 -             108               -            5        113       3,823         132               22      110              (10)           (170)           3,643             170            914          20              1       19          (3)             -           913           306         129
2042                  -            -                 -              88               -            4         92       3,735         129               21      108              (10)           (198)           3,527             198          1,111          25              1       24          (3)             -         1,111           312         132
2043                  -            -                 -              68               -            3         71       3,598         124               20      104               (9)           (197)           3,392             197          1,308          29              1       28          (4)             -         1,308           289         132
2044                  -            -                 -              48               -            2         50       3,442         119               20       99               (9)           (196)           3,237             196          1,504          34              1       33          (5)             -         1,504           267         132
2045                  -            -                 -               -               -            -          -       3,237         112               18       94               (9)           (197)           3,031             197          1,701          38              2       36          (5)             -         1,700           217         130
2046                  -            -                 -               -               -            -          -       3,031         105               17       88               (8)           (196)           2,827             196          1,896          42              2       40          (6)             -         1,896           215         128
2047                  -            -                 -               -               -            -          -       2,827          98               16       82               (7)           (195)           2,625             195          2,091          47              2       45          (7)             -         2,091           213         127
2048                  -            -                 -               -               -            -          -       2,625          91               15       76               (7)           (195)           2,423             195          2,286          51              2       49          (7)             -         2,286           212         125
2049                  -            -                 -               -               -            -          -       2,423          84               14       70               (6)           (194)           2,223             194          2,480          55              2       53          (8)             -         2,480           210         123
2050                  -            -                 -               -               -            -          -       2,223          77               13       64               (6)           (194)           2,023             194          2,674          60              3       57          (8)             -         2,673           210         121
2051                  -            -                 -               -               -            -          -       2,023          70               12       58               (5)           (194)           1,824             194          2,867          64              3       61          (9)             -         2,867           209         119
2052                  -            -                 -               -               -            -          -       1,824          63               10       53               (5)           (209)           1,610             209          3,076         106             17       89          (8)             -         3,062           236         142
2053                  -            -                 -               -               -            -          -       1,610          56                9       47               (4)           (209)           1,397             209          3,271         113             19       94          (9)             -         3,269           237         141
2054                  -            -                 -               -               -            -          -       1,397          48                8       40               (4)           (211)           1,182             211          3,480         120             20      100          (9)             -         3,479           239         140
2055                  -            -                 -               -               -            -          -       1,182          41                7       34               (3)           (211)             968             211          3,690         127             21      106         (10)             -         3,689           239         140
2056                  -            -                 -               -               -            -          -         968          33                5       28               (3)              -              965               -          3,689         127             21      106         (10)             -         3,689            26         134
2057                  -            -                 -               -               -            -          -         965          33                5       28               (3)              -              962               -          3,689         127             21      106         (10)             -         3,689            26         134
2058                  -            -                 -               -               -            -          -         962          33                5       28               (3)              -              959               -          3,689         127             21      106         (10)             -         3,689            26         134
2059                  -            -                 -               -               -            -          -         959          33                5       28               (3)              -              956               -          3,689         127             21      106         (10)             -         3,689            26         134
2060                  -            -                 -               -               -            -          -         956          33                5       28               (3)              -              953               -          3,689         127             21      106         (10)             -         3,689            26         134
Total               231        2,349               866           1,259             231          229      4,934                   3,133              454    2,679             (271)         (3,710)                           3,710                      1,583            202    1,381        (154)             -                       9,300       4,060



Notes:
(A) Per Teledyne, 231 of its sequencers delivered to MBA are currently 'Active In-Service'.
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                                                                                                                                                                      Prepared for Rose Walker LLP                                                                                                                                                  Schedule 6.0
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                                                                                                                                                Joint Strike Fighter (JSF) - Sequencer and Repair Quantities
                                                                                                                                                                            By Year



                                                            MBA Original Deliveries                                                       MBA Original Delivery - Returns, Replace/Repair and In-Service                                    MBA Replacement Deliveries + Associated Repairs and BER Replacements                      MBA Delivered/Repairs
                  (A)              MBA Aircraft Specific Deliveries               MBA                                 Beg. Year             Returns/Replacement                          Less:                 End Year         MBA       Beg. Year          Returns/Replacement                       Less:             End Year       Total
               Teledyne              Committed (B)                (C)          Teledyne                      MBA        Original                       Less:                  Ejection &           (I)         Original       20-Year    Replacement                    Less:               Ejection &        (I)      Replacement     Original/     Total
             (In-Service)         US       Partner/Other     Additional      Replacement                   Original      Active                    Beyond Repair     Net         Other       Replacement        Active   A Replacement      Active                Beyond Repair      Net       Other     Replacement      Active     Replacement      Net
   Year       Deliveries Deliveries          Deliveries      Purchases       Program (D) Spares (E) Deliveries In-Service Returns (F)               Replace (G)    Repairs      OOS (H)        Deliveries     In-Service          (I)     In-Service  Returns (F)   Replace (G)    Repairs   OOS (H)      Deliveries    In-Service      +BER        Repairs
(B) Per GAO F-35 Reports the US is currently committed to the purchase of 2,457, Partners Countries are currently committed to 895 JSFs. We assume 137 JSF have been delivered as of EOY 2015 (108 US and 29 Other).
(C) Based on the performance of other Fighter Programs, (F-16, F-18) and based on TESP's expectation, the JSF program will likely exceed the total current committed aircraft. I have used 38% increase over current commitments.
(D) Per Teledyne, it is likely all Teledyne Design/Build Sequencers will be replaced during the next testing, expected to occur over a 4-year period.
(E) Per Teledyne, spares typically comprise 5% of purchased sequencers. Because I calculate based on Aircraft Specific Deliveries, spares have been estimated using this rate.
(F) See the return rates by period on Schedule 6.2.
(G) See the beyond repair units as percentage of total returns by period on Schedule 6.2.
(H) See ejection & other out of service rates by period on Schedule 6.2.
(I) Specifications for Sequencers service life is defined as "at least 20 years".
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                                                                                                     Prepared for Rose Walker LLP                                                                                              Schedule 6.1
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                                                              Future Advance Sequencer Technology Replacement (FASTr) - Sequencer and Repair Quantities
                                                                                                     By Year



                       FASTr Original Deliveries + Associated Repairs and BER Replacements                                       FASTr Delivery Returns, Replace/Repair and In-Service                                  Combined
                      FASTr Expected Deliveries                                              FASTr      Beg. Year                 Returns/Replacement                           Less:                End Year       Total
          Legacy        Legacy          New                                      FASTr      Original     Original                        Less:                       Ejection &           (H)        Original     Original +
          NACES          FAST           F/18                                    Original   Cumulative     Active                       Beyond (F)         Net         Other (G)        Aircraft       Active       Beyond       Total
  Year   Retrofit (A) Retrofit (B)    Build (C)       Total     Spares (D)     Deliveries  Deliveries   In-Service     Returns (E)   Repair/Replace     Repairs     Out-of-Service    Retirement    In-Service     Repair      Repairs

2016              -           -             -            -             -              -             -              -              -               -             -                                             -           -            -
2017              -           -             -            -             -              -             -              -              -               -             -                                             -           -            -
2018              -           -            46           46             2             48            48             48              -               -             -                                            48          48            -
2019             36           -            78          114             4            118           166            166              1               -             1                -             -            166         118            1
2020            116           -            38          154             2            156           322            322              3               -             3                -             -            322         156            3
2021            160           -            21          181             1            182           504            504              4               -             4               (1)            -            503         182            4
2022            149          95            30          274             2            276           780            779              7               -             7               (1)            -            778         276            7
2023            110          77             -          187             -            187           967            965              8               -             8               (1)            -            964         187            8
2024             84         104             -          188             -            188         1,155          1,152             26               1            25               (4)            -          1,148         189           25
2025            124          90             -          214             -            214         1,370          1,363             30               1            29               (4)            -          1,359         215           29
2026             63         105             -          168             -            168         1,538          1,527             34               1            33               (5)            -          1,522         169           33
2027             56         127             -          183             -            183         1,721          1,705             38               2            36               (5)            -          1,700         185           36
2028             83         109             -          192             -            192         1,912          1,891             42               2            40               (6)            -          1,885         194           40
2029             65         139             -          204             -            204         2,116          2,089             47               2            45               (7)            -          2,082         206           45
2030             75         123             -          198             -            198         2,314          2,280             51               2            49               (7)            -          2,273         200           49
2031             70          75             -          145             -            145         2,459          2,418             54               2            52               (8)            -          2,410         147           52
2032              -          75             -           75             -             75         2,533          2,484             55               2            53               (8)            -          2,476          77           53
2033              -          63             -           63             -             63         2,596          2,539             57               2            55               (8)            -          2,531          65           55
2034              -         143             -          143             -            143         2,739          2,674             60               3            57               (8)            -          2,666         146           57
2035              -          93             -           93             -             93         2,832          2,759             95              16            79               (7)            -          2,752         109           79
2036              -          78             -           78             -             78         2,910          2,830             98              16            82               (7)            -          2,823          94           82
2037              -          28             -           28             -             28         2,938          2,851             98              16            82               (7)            -          2,844          44           82
2038              -           -             -            -             -              -         2,938          2,844             98              16            82               (7)            -          2,837          16           82
2039              -           -             -            -             -              -         2,938          2,837             98              16            82               (7)          (36)         2,794          16           82
2040              -           -             -            -             -              -         2,938          2,794             96              16            80               (7)         (116)         2,671          16           80
2041              -           -             -            -             -              -         2,938          2,671             92              15            77               (7)         (160)         2,504          15           77
2042              -           -             -            -             -              -         2,938          2,504             86              14            72               (7)         (149)         2,348          14           72
2043              -           -             -            -             -              -         2,938          2,348             81              13            68               (6)         (110)         2,232          13           68
2044              -           -             -            -             -              -         2,938          2,232             77              13            64               (6)          (84)         2,142          13           64
2045              -           -             -            -             -              -         2,938          2,142             74              12            62               (6)         (124)         2,012          12           62
2046              -           -             -            -             -              -         2,938          2,012             69              11            58               (5)          (63)         1,944          11           58
2047              -           -             -            -             -              -         2,938          1,944             67              11            56               (5)          (56)         1,883          11           56
2048              -           -             -            -             -              -         2,938          1,883             65              11            54               (5)          (83)         1,795          11           54
2049              -           -             -            -             -              -         2,938          1,795             62              10            52               (5)          (65)         1,725          10           52
2050              -           -             -            -             -              -         2,938          1,725             60              10            50               (5)          (75)         1,645          10           50
2051              -           -             -            -             -              -         2,938          1,645             57               9            48               (4)          (70)         1,571           9           48
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                                                                                                                     Prepared for Rose Walker LLP                                                                                                 Schedule 6.1
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                                                                        Future Advance Sequencer Technology Replacement (FASTr) - Sequencer and Repair Quantities
                                                                                                               By Year



                             FASTr Original Deliveries + Associated Repairs and BER Replacements                                                  FASTr Delivery Returns, Replace/Repair and In-Service                                    Combined
                            FASTr Expected Deliveries                                               FASTr                Beg. Year                 Returns/Replacement                           Less:                  End Year       Total
              Legacy          Legacy          New                                      FASTr       Original               Original                        Less:                       Ejection &           (H)          Original     Original +
              NACES            FAST           F/18                                    Original    Cumulative               Active                       Beyond (F)         Net         Other (G)        Aircraft         Active       Beyond       Total
  Year       Retrofit (A)    Retrofit (B)   Build (C)       Total     Spares (D)     Deliveries   Deliveries             In-Service     Returns (E)   Repair/Replace     Repairs     Out-of-Service    Retirement      In-Service     Repair      Repairs
2052                    -               -             -            -             -              -       2,938                  1,571             54                9             45              (4)            (95)         1,472              9        45
2053                    -               -             -            -             -              -       2,938                  1,472             51                8             43              (4)            (77)         1,391              8        43
2054                    -               -             -            -             -              -       2,938                  1,391             48                8             40              (4)           (104)         1,283              8        40
2055                    -               -             -            -             -              -       2,938                  1,283             44                7             37              (3)            (90)         1,190              7        37
2056                    -               -             -            -             -              -       2,938                  1,190             41                7             34              (3)           (105)         1,081              7        34
2057                    -               -             -            -             -              -       2,938                  1,081             37                6             31              (3)           (127)           952              6        31
2058                    -               -             -            -             -              -       2,938                    952             33                5             28              (3)           (109)           840              5        28
2059                    -               -             -            -             -              -       2,938                    840             29                5             24              (2)           (139)           699              5        24
2060                    -               -             -            -             -              -       2,938                    699             24                4             20              (2)           (123)           574              4        20
Total             1,191           1,523            213        2,927             11         2,938                                              2,251              304          1,947            (204)         (2,160)                       3,242     1,947



Notes:
(A) See Schedule 6.2 for Legacy Naces units less the NACES out-of -service rate experienced over the life of the program to date.
(B) See Schedule 6.2 for FAST units less the NACES out-of-service rate experienced over the life of the program to date.
(C) See Email from Steven Bordeaux (U.S. Navy) to Bob Ferguson (TESP) RE: New F/18 Builds.
(D) Per Teledyne, spares typically comprise 5% of purchased sequencers. Because I calculate based on Aircraft Specific Deliveries, spares have been estimated using this rate.
(E) See the return rates by period on Schedule 6.2.
(F) See the beyond repair units as percentage of total returns by period on Schedule 6.2.
(G) See ejection & other out of service rates by period on Schedule 6.2.
(H) Assumes aircraft retirement 20 years after FASTr retrofit.
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                                                                                                                                                        Prepared for Rose Walker LLP                                                                                                                                             Schedule 6.2
                                                                                                                                                       RE: Teledyne RISI v. Martin-Baker                                                                                                                                        Page 21 of 29


                                                                                                                                     Analysis of Return Rates, Beyond Repairs and Ejections (A)
                                                                                                                                                Legacy NACES and FAST Sequencers



             Program Year               Legacy NACES                                 FAST                                         Returns/Replacements/Repairs                              Ejections/Other OOS                                                          Rates
                                         Removed                                  Removed                                  NACES                               FAST                                                     Total Returns/Active In-Service     Beyond Repair/Total Returns      Ejection+ Other OOS/Active In-Service
                                           from       Active                        from            Active      Total      Beyond        Net       Total      Beyond              Net
  Year     NACES      FAST      Shipped Service (B) In-Service        Shipped    Service (B)      In-Service   Returns     Repair      Repairs    Returns      Repair           Repairs      NACES          FAST       NACES         FAST       Combined    NACES     FAST      Combined      NACES         FAST        Combined

1989           1                      42             -           42        -              -             -           -            -            -           -             -             -             -          -        0.00%         N/A        0.00%        N/A      N/A         N/A        0.00%          N/A          0.00%
1990           2                     134             -          176        -              -             -           -            -            -           -             -             -             -          -        0.00%         N/A        0.00%        N/A      N/A         N/A        0.00%          N/A          0.00%
1991           3                     184             -          360        -              -             -           -            -            -           -             -             -             -          -        0.00%         N/A        0.00%        N/A      N/A         N/A        0.00%          N/A          0.00%
1992           4                     171                 4      527        -              -             -           -            -            -           -             -             -                 4      -        0.00%         N/A        0.00%        N/A      N/A         N/A        0.76%          N/A          0.76%
1993           5                     127                 3      651        -              -             -           -            -            -           -             -             -                 3      -        0.00%         N/A        0.00%        N/A      N/A         N/A        0.46%          N/A          0.46%
1994           6                      97                 4      744        -              -             -           -            -            -           -             -             -                 4      -        0.00%         N/A        0.00%        N/A      N/A         N/A        0.54%          N/A          0.54%
1995           7                     143                 5      882        -              -             -             2              1         1          -             -             -                 4      -        0.23%         N/A        0.23%      50.00%     N/A       50.00%       0.45%          N/A          0.45%
1996           8                      73                 6      949        -              -             -             5          -             5          -             -             -                 6      -        0.53%         N/A        0.53%      0.00%      N/A       0.00%        0.63%          N/A          0.63%
1997           9                      64                 2    1,011        -              -             -            12          -            12          -             -             -                 2      -        1.19%         N/A        1.19%      0.00%      N/A       0.00%        0.20%          N/A          0.20%
1998          10                      96                 4    1,103        -              -             -            40          -            40          -             -             -                 4      -        3.63%         N/A        3.63%      0.00%      N/A       0.00%        0.36%          N/A          0.36%
1999          11                      75             -        1,178        -              -             -            27          -            27          -             -             -             -          -        2.29%         N/A        2.29%      0.00%      N/A       0.00%        0.00%          N/A          0.00%
2000          12                      86               9      1,255        -              -             -            43              1        42          -             -             -                 8      -        3.43%         N/A        3.43%      2.33%      N/A       2.33%        0.64%          N/A          0.64%
2001          13                      81               5      1,331        -              -             -            24              2        22          -             -             -                 3      -        1.80%         N/A        1.80%      8.33%      N/A       8.33%        0.23%          N/A          0.23%
2002          14         1           -                 5      1,326        109            -             109          40              2        38            3           -               3               3      -        3.02%        2.75%       3.00%      5.00%     0.00%      4.65%        0.23%         0.00%         0.21%
2003          15         2           -                 8      1,318         89            -             198          59          -            59            4           -               4               8      -        4.48%        2.02%       4.16%      0.00%     0.00%      0.00%        0.61%         0.00%         0.53%
2004          16         3           -                10      1,308        120            -             318          52              2        50            2           -               2               8      -        3.98%        0.63%       3.32%      3.85%     0.00%      3.70%        0.61%         0.00%         0.49%
2005          17         4           -                 6      1,302        104                1         421          47          -            47            7           -               7               6          1    3.61%        1.66%       3.13%      0.00%     0.00%      0.00%        0.46%         0.24%         0.41%
2006          18         5           -                 3      1,299        121            -             542          53          -            53            9           -               9               3               4.08%        1.66%       3.37%      0.00%     0.00%      0.00%        0.23%         0.00%         0.16%
2007          19         6           -                 9      1,290        146            -             688          51            3          48            7           -               7               6               3.95%        1.02%       2.93%      5.88%     0.00%      5.17%        0.47%         0.00%         0.30%
2008          20         7           -                 7      1,283        125                3         810          23            1          22           13           -              13               6          3    1.79%        1.60%       1.72%      4.35%     0.00%      2.78%        0.47%         0.37%         0.43%
2009          21         8           -                10      1,273        160            -             970          14           10           4           22           -              22           -                   1.10%        2.27%       1.60%      71.43%    0.00%      27.78%       0.00%         0.00%         0.00%
2010          22         9           -                12      1,261        141              4         1,107          75            5          70           22           -              22               7        4      5.95%        1.99%       4.10%      6.67%     0.00%      5.15%        0.56%         0.36%         0.46%
2011          23        10           -                15      1,246         86              4         1,189          52           12          40           36               1          35               3        3      4.17%        3.03%       3.61%      23.08%    2.78%      14.77%       0.24%         0.25%         0.25%
2012          24        11           -                 4      1,242         86              7         1,268          45            4          41           34               2          32           -            5      3.62%        2.68%       3.15%      8.89%     5.88%      7.59%        0.00%         0.39%         0.20%
2013          25        12           -                10      1,232         72              2         1,338          46           10          36           22           -              22           -            2      3.73%        1.64%       2.65%      21.74%    0.00%      14.71%       0.00%         0.15%         0.08%
2014          26        13           -                 9      1,223        165              2         1,501          31            8          23           27           -              27            1           2      2.53%        1.80%       2.13%      25.81%    0.00%      13.79%       0.08%         0.13%         0.11%
2015          27        14           -                12      1,211        107              5         1,603          41           10          31           39           -              39            2           5      3.39%        2.43%       2.84%      24.39%    0.00%      12.50%       0.17%         0.31%         0.25%
2016          28        15           -                12      1,199         90              9         1,684          46            5          41           76               3          73            7           6      3.84%        4.51%       4.23%      10.87%    3.95%      6.56%        0.58%         0.36%         0.45%
2017          29        16           -                 6      1,193         32              2         1,714          37            4          33           26               1          25            2           1      3.10%        1.52%       2.17%      10.81%    3.85%      7.94%        0.17%         0.06%         0.10%
  Total                            1,373             180      1,193      1,753             39         1,714         865           80         785          349               7         342          100          32      2.39%        2.08%       2.24%      12.32%    1.03%      6.68%        0.31%         0.16%         0.24%

                                                 13.11%
                                           To Schedule 6.2
                                                                                                                                                              Summary by Period (C)

                                                                                                                                                                                             First 5 Year Average          0.00%        1.74%     0.87%       0.00%     0.00%      0.00%           0.24%        0.05%       0.15%
                                                                                                                                                                                            Next 11 Year Average           2.23%        2.23%     2.23%       6.95%     1.50%      4.22%           0.41%        0.22%       0.31%
                                                                                                                                                                                                 Beyond 16 Years           3.45%                  3.45%      16.45%               16.45%           0.26%                    0.26%
                                                                                                                                                                                                                                      To Schedule 6.0/6.1                        To Schedule 6.0/6.1            To Schedule 6.0/6.1


Notes:
(A) Source: 'FAST ROR Return History 26JUL2017.xlsx' & 'NACES ROR Return History 26JUL2017.xlsx'
(B) Removed from Service inclusive of Returns (resulting in replacement), Ejections and Other. Unless otherwise specified, the year is considered the date of last repair and/or allocated based on return/ejection rates.
(C) NACES/FAST Rates are taken on a straight line average based on the 1st year of each program (NACES - 1989) (FAST - 2002). Combined is taken as a straight average of NACES & FAST, except for beyond 16 years in which is NACES only.
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                                                                                       Prepared for Rose Walker LLP                                                                    Schedule 7.0
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                                                                             Analysis of Variable Expense and Lost Margin
                                                                                  Sequencer Production and Repairs



                                                  Total (USD)                                    Percent to Revenue                                Variable Expenses and Lost Margin By Category
                               JSF/FAST            NACES/                           JSF/FAST          NACES/                            Expense
                               Sequencer             FAST                           Sequencer          FAST                             Percent    Sequencer
          Description          Production          Repairs           Combined       Production        Repairs             Combined      Variable   Production        Repairs         Combined


Schedule Reference                7.1                 7.2                                                                                 8.0

Revenue                    $     13,380,382   $      3,609,457   $    16,989,839         100.00%           100.00%            100.00%   100.00%         100.00%          100.00%          100.00%

Factory Cost
  Labor                             792,022            352,462         1,144,484           5.92%              9.76%             6.74%   27.34%            1.62%            2.67%            1.84%
  Material                        3,452,037            597,308         4,049,345          25.80%             16.55%            23.83%   100.00%          25.80%           16.55%           23.83%
  ODC                                 1,126              1,278             2,404           0.01%              0.04%             0.01%    0.00%            0.00%            0.00%            0.00%
  Overhead (MFG)                  1,814,444            881,168         2,695,612          13.56%             24.41%            15.87%    27.34%           3.71%            6.68%            4.34%
Total - Factory Cost              6,059,629          1,832,215         7,891,844          45.29%             50.76%            46.45%                    31.13%           25.89%           30.01%

Net Margin (Before SG&A)   $      7,320,753   $      1,777,242   $     9,097,995          54.71%             49.24%            53.55%                    68.87%           74.11%           69.99%
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                                                                           Prepared for Rose Walker LLP                                                              Schedule 7.1
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                                                                     JSF and FAST Sequencer Production
                                                                      Revenue and Cost (By Job Number)



                                                                      Job Number (A)                                                             By Project
                                           JSF Program                            FAST
                                     2007-11          2010-16           2007-2015          2016-17                                                               Combined (B)
          Description               Job G261         Job G359            Job G372         Job G420            Combined          JSF                FAST         Excluding G261
                                                                                   Total (USD)

Revenue                         $      3,588,616   $     7,096,821    $     5,482,981   $       800,580   $    16,968,997   $   10,685,436   $      6,283,561   $   13,380,382

Factory Cost
 Labor                                   591,371           426,170            323,870            41,981         1,383,393        1,017,541            365,852          792,022
 Material                              1,084,243         1,740,939          1,486,545           224,554         4,536,280        2,825,182          1,711,098        3,452,037
 ODC                                      31,291               971                155                 -            32,417           32,262                155            1,126
 Overhead (MFG)                        1,380,097           948,512            759,674           106,258         3,194,541        2,328,609            865,932        1,814,444
Total - Factory Cost                   3,087,002         3,116,592          2,570,244           372,793         9,146,631        6,203,594          2,943,037        6,059,629

Net Margin (Before SG&A)        $       501,614    $     3,980,228    $     2,912,737   $       427,787   $     7,822,366   $    4,481,842   $      3,340,524   $    7,320,753

                                                                                Percent of Revenue

Revenue                                 100.00%            100.00%            100.00%           100.00%           100.00%         100.00%             100.00%          100.00%

Factory Cost
 Labor                                    16.48%             6.01%              5.91%             5.24%             8.15%           9.52%               5.82%            5.92%
 Material                                 30.21%            24.53%             27.11%            28.05%            26.73%          26.44%              27.23%           25.80%
 ODC                                       0.87%             0.01%              0.00%             0.00%             0.19%           0.30%               0.00%            0.01%
 Overhead (MFG)                           38.46%            13.37%             13.86%            13.27%            18.83%          21.79%              13.78%           13.56%
Total - Factory Cost                      86.02%            43.92%             46.88%            46.57%            53.90%          58.06%              46.84%           45.29%

Net Margin (Before SG&A)                  13.98%            56.08%             53.12%            53.43%            46.10%          41.94%              53.16%           54.71%



Notes:
(A) Source: Job Specific Financial Data.xlsx
(B) Exclusive of Job G261 which includes non-recurring TESP Investment.
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                                                                          #:2593
                                                                                Prepared for Rose Walker LLP                                                                                Schedule 7.2
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                                                                            JSF and FAST Sequencer Repairs
                                                                           Revenue and Cost (By Job Number)



                                                                                  By Job Number (A)                                                                           By Project
                                                                 NACES Spares/Repairs                                           FAST Spares          NACES/
                                      2013-15            2014-15       2014-15          2015                   2015-17            2015-16             FAST
         Description                 Job G386           Job G392      Job G393        Job G397                Job G400           Job G404           Combined          NACES                 FAST
                                                                                        Total (USD)

Revenue                          $        657,177   $       186,250   $    223,600   $          44,700   $      1,252,580   $       1,245,150   $     3,609,457   $    2,364,307    $        1,245,150

Factory Cost
  Labor                                    67,582            28,418         27,502               2,809            163,999             62,153            352,462          290,310               62,153
  Material                                 29,416            10,891         29,406               2,992             80,494            444,109            597,308          153,198              444,109
  ODC                                           6                 -              -                   -              1,271                  -              1,278            1,278                    -
  Overhead (MFG)                          156,372            69,974         67,745               7,012            421,443            158,622            881,168          722,546              158,622
Total - Factory Cost                      253,376           109,283        124,653              12,812            667,207            664,884          1,832,215        1,167,332              664,884

Net Margin (Before SG&A)         $        403,801   $        76,967   $     98,947   $          31,888   $        585,373   $        580,266    $     1,777,242   $    1,196,976    $         580,266

                                                                                         Percent of Revenue

Revenue                                   100.00%           100.00%        100.00%             100.00%            100.00%            100.00%            100.00%         100.00%               100.00%

Factory Cost
  Labor                                    10.28%            15.26%         12.30%               6.28%             13.09%              4.99%              9.76%          12.28%                  4.99%
  Material                                  4.48%             5.85%         13.15%               6.69%              6.43%             35.67%             16.55%           6.48%                 35.67%
  ODC                                       0.00%             0.00%          0.00%               0.00%              0.10%              0.00%              0.04%           0.05%                  0.00%
  Overhead (MFG)                           23.79%            37.57%         30.30%              15.69%             33.65%             12.74%             24.41%          30.56%                 12.74%
Total - Factory Cost                       38.56%            58.68%         55.75%              28.66%             53.27%             53.40%             50.76%          49.37%                 53.40%

Net Margin (Before SG&A)                   61.44%            41.32%         44.25%              71.34%             46.73%             46.60%             49.24%          50.63%                 46.60%



Notes:
(A) Source: Job Specific Financial Data.xlsx
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                                                                            #:2594
                                                                                              Prepared for Rose Walker LLP                                                                   Schedule 8.0
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                                                                          Determination of Variable Labor/Overhead Percentage
                                                                             Based on TESP Profit and Loss Statements (A)



                                 Net Sales         Direct             Variable             Fixed               Total                                     Percentage of Sales
       Description             Less Returns        Labor              Overhead          Overhead (C)         Labor/OH             Sales        Labor           V. OH           F. OH       Labor & OH
                                                                                                       Total (USD) (A)

2013                       $          13,801   $            880   $         1,537   $             316    $         2,733            100.00%          6.38%         11.14%          2.29%         19.80%
2014                                  13,251                734             1,540                 308              2,582            100.00%          5.54%         11.62%          2.32%         19.48%
2015                                  15,107                812             1,818                 318              2,948            100.00%          5.37%         12.03%          2.11%         19.52%
2016                                  11,734                818             1,612                 308              2,738            100.00%          6.97%         13.74%          2.63%         23.33%
YTD June-2017                          4,712                275               897                 154              1,326            100.00%          5.84%         19.03%          3.26%         28.14%

                                                               All Years adjusted to 2013 Dollars using 2.5% Escalation, 2017 annualized to 12 months.

2013                       $          13,801   $            880   $         1,537   $             316    $         2,733            100.00%          6.38%         11.14%          2.29%         19.80%
2014                                  12,928                716             1,503                 300              2,519            100.00%          5.54%         11.62%          2.32%         19.48%
2015                                  14,379                773             1,730                 303              2,806            100.00%          5.37%         12.03%          2.11%         19.52%
2016                                  10,896                759             1,497                 286              2,542            100.00%          6.97%         13.74%          2.63%         23.33%
2017                                   8,538                499             1,625                 278              2,402            100.00%          5.84%         19.03%          3.26%         28.14%

                                                                                     Determination of Percent Expenses Variable

2013 - 2015 Average        $          13,703 $               790 $          1,590 $               306 $            2,686            100.00%          5.76%         11.60%          2.24%         19.60%
2016 - 2017 Average                    9,717                 629            1,561                 282              2,472            100.00%          6.47%         16.06%          2.90%         25.44%
Difference                 $          (3,985) $             (160) $           (29) $              (24) $            (214)           100.00%          4.03%          0.73%          0.61%          5.36%

Percent Variable                                                                                                                                    69.87%           6.26%        27.15%         27.34%
                                                                                                                                                                                            Note (B)

Notes:
(A) See Schedule 8.1.
(B) 27.34% Variable Combined OH used for all categories of Labor/OH due to inter relationship of charges based on sales volume.
(C) Definition of fixed and variable expense per Teledyne accounting methodology.
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                                                                             Prepared for Rose Walker LLP                                                                           Schedule 8.1
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                                        Teledyne - Electronics Safety Products (TESP) - Profit and Loss Statements (A)
                                                                     2013 - YTD June 2017



                                                                                                                          YTD                                      Total - By Periods
               Description               2013               2014                  2015               2016               June 2017          Total                2014-15           2016-17
                                                                                     Total (USD)

Sales
 External Gross Sales               $       13,801 $           13,066 $               14,699 $           11,690     $         4,711 $         57,967        $        27,765 $          16,402
 Returns & Allowances                         (437)               (78)                   (38)                 -                 (80)            (634)                  (116)              (80)
 Intercompany Sales                              -                185                    408                 43                   1              638                    593                45
Total - Net Sales                           13,364             13,173                 15,068             11,734               4,632           57,971                 28,241            16,366

Cost of Sales - Variable
 COS-Direct Labor                                 880                734                 812                  818               275            3,519                  1,546             1,093
 COS-Direct Material                            4,066              2,980               4,236                4,575             1,505           17,363                  7,217             6,080
 COS-Variable Overhead                          1,537              1,540               1,818                1,612               897            7,404                  3,358             2,509
Total - Variable Cost of Sales                  6,483              5,254               6,866                7,004             2,678           28,285                 12,121             9,682

Contribution Margin                             6,881              7,919               8,202                4,730             1,954           29,686                 16,121             6,684

Cost of Sales - Fixed
 COS-Fixed Overhead                              316                308                  318                 308                154                1,404               626                462
 COS-Lifo Adjustment                               2                 45                   53                 (31)               (71)                  (2)               98               (102)
Total - Other Cost of Sales                      318                352                  372                 277                 82                1,402               724                359

Total - Cost of Sales                           6,801              5,607               7,238                7,281             2,760           29,687                 12,845            10,041

Gross Profit                                    6,563              7,566               7,830                4,453             1,872           28,284                 15,397             6,325

Operating Expenses
 Selling Expense                                   17                  -                  91                   81                40                  229                 91               121
 Gen & Admin Expense                            1,004              1,016               1,030                1,968               936                5,953              2,046             2,903
 R & D Expense                                    508               (290)                 46                   65               (11)                 319               (244)               55
 Bid & Proposal Expense                           238                287                 276                  298               155                1,253                563               452
Total - Operating Expenses                      1,767              1,013               1,443                2,411             1,120                7,754              2,456             3,531

Operating Profit                    $           4,796   $          6,553    $          6,388   $            2,041   $           752    $      20,530        $        12,941    $        2,794

                                                                                  Percent of Revenue

Sales
                                      Case 2:15-cv-07936-SJO-GJS Document 150-3 Filed 10/17/17 Page 43 of 57 Page ID
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                                                                                 Prepared for Rose Walker LLP                                                        Schedule 8.1
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                                                 Teledyne - Electronics Safety Products (TESP) - Profit and Loss Statements (A)
                                                                              2013 - YTD June 2017



                                                                                                                        YTD                           Total - By Periods
               Description                        2013             2014               2015               2016         June 2017      Total         2014-15           2016-17
 External Gross Sales                               103.27%           99.19%             97.55%             99.63%         101.71%       99.99%         98.31%           100.22%
 Returns & Allowances                                 -3.27%           -0.59%             -0.25%              0.00%         -1.73%       -1.09%         -0.41%            -0.49%
 Intercompany Sales                                    0.00%            1.41%              2.71%              0.37%          0.03%         1.10%         2.10%             0.27%
Total - Net Sales                                   100.00%          100.00%            100.00%            100.00%         100.00%     100.00%         100.00%           100.00%

Cost of Sales - Variable
 COS-Direct Labor                                      6.58%           5.57%               5.39%              6.97%         5.94%        6.07%           5.47%            6.68%
 COS-Direct Material                                  30.43%          22.63%              28.12%             38.99%        32.50%       29.95%          25.55%           37.15%
 COS-Variable Overhead                                11.50%          11.69%              12.06%             13.74%        19.36%       12.77%          11.89%           15.33%
Total - Variable Cost of Sales                        48.51%          39.89%              45.57%             59.69%        57.81%       48.79%          42.92%           59.16%

Contribution Margin                                   51.49%          60.11%              54.43%             40.31%        42.19%       51.21%          57.08%           40.84%

Cost of Sales - Fixed
 COS-Fixed Overhead                                        2.36%       2.34%               2.11%              2.63%          3.32%        2.42%          2.22%            2.82%
 COS-Lifo Adjustment                                       0.01%       0.34%               0.35%             -0.26%         -1.54%        0.00%          0.35%           -0.63%
Total - Other Cost of Sales                                2.38%       2.68%               2.47%              2.36%          1.77%        2.42%          2.56%            2.20%

Total - Cost of Sales                                 50.89%          42.56%              48.03%             62.05%        59.58%       51.21%          45.48%           61.35%

Gross Profit                                          49.11%          57.44%              51.97%             37.95%        40.42%       48.79%          54.52%           38.65%

Operating Expenses
 Selling Expense                                       0.13%           0.00%               0.60%              0.69%         0.87%        0.39%           0.32%            0.74%
 Gen & Admin Expense                                   7.51%           7.71%               6.84%             16.77%        20.20%       10.27%           7.24%           17.74%
 R & D Expense                                         3.80%          -2.20%               0.30%              0.55%        -0.23%        0.55%          -0.86%            0.33%
 Bid & Proposal Expense                                1.78%           2.18%               1.83%              2.54%         3.34%        2.16%           1.99%            2.76%
Total - Operating Expenses                            13.22%           7.69%               9.57%             20.55%        24.18%       13.38%           8.70%           21.58%

Operating Profit                                      35.89%          49.75%              42.39%             17.40%        16.24%       35.41%          45.82%           17.07%



Notes:
(A) Source: Electronic Safety Products Actuals (By Year)
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                                                    Prepared for Rose Walker LLP                                                               Schedule 8.2
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                    Teledyne Technologies - Aerospace and Defense Electronics Segment
                                      Selected Financial Information




        Description               2010               2011         2012          2013              2014             2015             2016
                                                   Total Amounts ($ USD in Millions)

Sales                         $     614.7      $       670.8   $     660.6    $    625.1      $     603.0      $     593.4      $     615.9
 Cost of Sales                      451.9              458.0         442.6         434.6            386.6            383.8            377.5
Gross Margin                        162.8              212.8         218.0         190.5            216.4            209.6            238.4
 SG&A                               105.0              118.9         127.7         124.8            128.1            124.8            126.3
Operating Income              $      57.8      $        93.9   $      90.3    $     65.7      $      88.3      $      84.8      $     112.1

Capital Expenditures          $          9.7   $        13.1   $      13.8    $        15.3   $          8.8   $          9.1   $      12.6

                                                           Percent of Sales

Sales                             100.00%            100.00%       100.00%        100.00%         100.00%          100.00%          100.00%
 Cost of Sales                     73.52%             68.28%        67.00%         69.52%          64.11%           64.68%           61.29%
Gross Margin                       26.48%             31.72%        33.00%         30.48%          35.89%           35.32%           38.71%
 SG&A                              17.08%             17.73%        19.33%         19.96%          21.24%           21.03%           20.51%
Operating Income                    9.40%             14.00%        13.67%         10.51%          14.64%           14.29%           18.20%

Capital Expenditures                1.58%              1.95%         2.09%         2.45%            1.46%            1.53%            2.05%



Notes:
(A) Source: Teledyne Technologies Incorporated Form 10-Ks
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                                                             Prepared for Rose Walker LLP                                                       Schedule 8.3
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                                                         Teledyne Technologies
                                                    Consolidated Financial Statements




                  Description                      2009          2010       2011        2012        2013        2014      2015       2016
                                                          Total Amounts ($ USD in Millions)

Net Sales                                        $ 1,765.2 $ 1,644.2 $ 1,941.9 $ 2,127.3 $          2,338.6 $   2,394.0 $ 2,298.1 $ 2,149.9
  Cost of Sales                                    1,256.0   1,148.1   1,290.7   1,379.1            1,500.0     1,487.1   1,427.8   1,318.0
Gross Margin                                         509.2     496.1     651.2     748.2              838.6       906.9     870.3     831.9
  SG&A                                               343.2     317.6     424.0     505.1              598.3       612.4     588.6     578.1
Operating Income                                     166.0     178.5     227.2     243.1              240.3       294.5     281.7     253.8
  Interest and Debt Expense                           (4.8)     (6.5)    (16.2)    (17.8)             (20.4)      (19.0)    (23.9)    (23.2)
  Other Income                                        (0.1)      1.6       0.6       2.9                4.1         6.6       0.4      10.7
Income Before Taxes                                  161.1     173.6     211.6     228.2              224.0       282.1     258.2     241.3
  Provision for Income Taxes                          47.3      53.6      69.5      65.4               39.5        66.5      62.7      50.4
Net Income                                           113.8     120.0     142.1     162.8              184.5       215.6     195.5     190.9
  Noncontrolling Interest                             (0.5)     (0.1)       -       (1.0)               0.5         2.1       0.3        -
Net Income Attributable to Teledyne              $   113.3 $   119.9 $   142.1 $   161.8 $            185.0 $     217.7 $   195.8 $   190.9


                                                                    Percent of Sales

Sales                                              100.00%       100.00%      100.00%     100.00%   100.00%     100.00%   100.00%   100.00%
  Cost of Sales                                     71.15%        69.83%       66.47%      64.83%    64.14%      62.12%    62.13%    61.31%
Gross Margin                                        28.85%        30.17%       33.53%      35.17%    35.86%      37.88%    37.87%    38.69%
  SG&A                                              19.44%        19.32%       21.83%      23.74%    25.58%      25.58%    25.61%    26.89%
Operating Income                                     9.40%        10.86%       11.70%      11.43%    10.28%      12.30%    12.26%    11.81%
  Interest and Debt Expense                         -0.27%        -0.40%       -0.83%      -0.84%    -0.87%      -0.79%    -1.04%    -1.08%
  Other Income                                      -0.01%         0.10%        0.03%       0.14%     0.18%       0.28%     0.02%     0.50%
Income Before Taxes                                  9.13%        10.56%       10.90%      10.73%     9.58%      11.78%    11.24%    11.22%
  Provision for Income Taxes                         2.68%         3.26%        3.58%       3.07%     1.69%       2.78%     2.73%     2.34%
Net Income                                           6.45%         7.30%        7.32%       7.65%     7.89%       9.01%     8.51%     8.88%
  Noncontrolling Interest                           -0.03%        -0.01%        0.00%      -0.05%     0.02%       0.09%     0.01%     0.00%
Net Income Attributable to Teledyne                  6.42%         7.29%        7.32%       7.61%     7.91%       9.09%     8.52%     8.88%



Notes:
(A) Source: Teledyne Technologies Incorporated Form 10-Ks
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                                EXHIBIT 2


          CURRICULUM VITAE OF MARK NEWTON
                                 Exhibit
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                                                                               Professional Bio


  Mark R. Newton, CPA/ABV, CFF
  Partner
  1330 Broadway
  Suite 430
  Oakland CA 94612
  Office: (206) 792‐0214
  Cell:   (415) 279‐1859
  Email: mnewton@hsno.com

  PROFESSIONAL EXPERIENCE
  Hagen, Streiff, Newton & Oshiro, Accountants, P.C.
  Mr. Newton, established the firm's Northern California practice in 1977 in San Francisco and the
  Seattle office in 2005. Mr. Newton was COO of HSNO from 2009 to 2015. He specializes in the
  measurement of Forensic Accounting, Economic Damages and Business Valuation. His experience
  has involved almost every industry and includes damage measurement resulting from business
  interruption, construction defect, business valuation cases, contract disputes, intellectual property
  infringement, class action, property loss, consequential losses, fraud, product liability, wage and
  hour cases, employee pay disputes and personal injury. Mr. Newton has significant experience in
  the measurement of construction claims and consequential damages for both owners and
  contractors. His many fraud assignments have involved embezzlement, construction claims, theft of
  cash, theft of inventory and other personal property, kickback schemes, and employee dishonesty.
  Additionally, Mr. Newton has investigated a variety of cases involving alter ego status.

  EXPERT TESTIMONY
  Mr. Newton has testified as an expert witness on many occasions in State Court, Federal Court,
  arbitrations and insurance appraisals. He has also testified before the International Trade
  Commission in Washington, DC regarding patent infringement.

  ALTERNATIVE DISPUTE RESOLUTION
  Mr. Newton has been appointed on several occasions to act as a neutral expert or to provide an
  independent accounting for multiple parties involved in a dispute.

  EDUCATION
         BA, Economics, University of California at Los Angeles
         Continuing Professional Education requirements fulfilled as required by the AICPA and the
          Washington and California State Boards of Accountancy.

  LICENSES
  Certified Public Accountant
       Washington        2008     # 26759
       California        1979     # 27261




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                                                                              Professional Bio

  PROFESSIONAL ACCREDITATIONS
         ABV ‐ Accredited in Business Valuations – AICPA
         CFF – Certified in Financial Forensics ‐ AICPA

  PROFESSIONAL ASSOCIATIONS
         American Institute of Certified Public Accountants
         National Association of Forensic Economists
         Washington Society of Certified Public Accountants
         California Society of Certified Public Accountants
         Puget Sound Adjusters Association (PSAA)
         Property Claims Association of the Pacific
         Loss Executives Association

  RECENT PRESENTED SEMINARS
         Wind Energy Losses                     LEA Tampa, FL                  January 26, 2017
         Econonuggets – Personal Injury         WDTL Seattle                   April 27, 2016
         Wind Energy Losses                     PLRB Anaheim                   April 1, 2015
         Valuing Household Services in
          Asbestos Litigation                    ADC San Francisco              May 27, 2014
         Expanding Business Income Loss
          Coverage Impact of Amerigraphics       PLRB Jacksonville              November 19, 2013
         Wind Energy Losses in the Sky          PLRB Orlando                   April 16, 2012
         Wind Energy Losses                     PLRB Nashville                 April 5, 2011
         Renewable Energy Losses                PLRB San Antonio               March 22/24, 2010
         Renewable Energy Losses                PLRB Seattle                   March 23/25, 2009
         Preventing Pain – Punitive Damages     ADC San Francisco              December 4, 2008
         Renewable Energy Losses                PLRB Boston                    April 15/16, 2008
         Forensic Accounting in Construction    Washington Society of CPAs
          Litigation                             Bellevue                       October 30, 2006
         Extended Period
          Business Income Loss                   CCNC Sacramento                Sept. 21, 2006
         Economic Damages
          From Construction Defects              ADC San Francisco              Sept. 16, 2005
         Independent Power
          Producer Losses                        PLRB Scottsdale                November 30, 2004
         Power Generation Losses                Lloyd’s of London              July 6, 2004
         Contingent Business Interruption       PLRB Chicago                   March 15/17, 2004
         Contingent Business Interruption       PLRB Orlando                   March 30, 2003
         Pitfalls in Business                   The Hartford Training
          Interruption Claims                    Sacramento                     August 6, 2002
         Duplication of Claims
          Property Damage v. Time Element        PLRB Anaheim                   April 9/10, 2002




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   MARK NEWTON TESTIMONY IN LAST FOUR YEARS
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                                                                         EXHIBIT 3

                                                             MARK R. NEWTON
                                               RECENT EXPERT TESTIMONY - GENERAL LITIGATION


                            Case                             Type                   Venue                      Case #                Date


Advance Design Consultants, Inc. vs. Gabriel Michel, et                   Santa Clara County Superior
al                                                           Trial                   Court                1-12-CV-226289        July 25, 2017

Forty Niners SC Stadium Company LLC vs. Santa
Clara Stadium Authority                                   Arbitration               JAMS                    1100084323          June 20, 2017

KCO Imaginetics, LLC vs. James Flynn and John
Nyberg                                                    Arbtitration      Honorable Bruce Hilyer                               July 12, 2017

Advance Design Consultants, Inc. vs. Gabriel Michel, et                   Santa Clara County Superior
al                                                        Deposition                 Court                1-12-CV-226289        June 26, 2017

                                                                          US District Court Western
Stroh vs. Saturna Capital                                    Trial         District of Washington           2:16-cv-0083        June 22, 2017

Forty Niners SC Stadium Company LLC vs. Santa
Clara Stadium Authority                                   Deposition                JAMS                    1100084323          June 20, 2017

Metamorfyx, LLC, et al vs. Vanik, Vickers & Masini, et                   Los Angeles County Superior
al                                                           Trial                  Court                    BC444780           May 12, 2017

Metamorfyx, LLC, et al vs. Vanik, Vickers & Masini, et                   Los Angeles County Superior
al                                                        Deposition                Court                    BC444780           May 25, 2017




                                                                          US District Court Western
Stroh vs. Saturna Capital                                 Deposition       District of Washington           2:16-cv-0083      February 21, 2017

Corona Summit, LLC vs. Cox Castle Nicholson LLP, et                       Los Angeles County Central
al                                                        Deposition               District                  BC 549326        November 18, 2016

Erwin vs. Community Hospital of Monterey Peninsula           Trial             Monterey County               M131719          November 15, 2016

Gambino vs. Cypress Point RE Investors, LLC, et al        Deposition          Santa Cruz Superior            CV180979          October 27, 2016

Martin Kellogg and Mary Kellogg vs. Ralph's Concrete         Trial           King County Superior         15-2-14229-1 SEA    September 26, 2016
Pumping, Inc.

Second Measure, Inc. v. Steven Kim                        Deposition     US District Court of Northern     3:15-cv-03395      September 21, 2016
                                                                                  California


                                                                          US District Court of Oregon
Muller vs. Country Mutual Insurance Company               Deposition         Pendleton Division          3: 14-CV-O 1345-BR    August 24, 2016

Erwin vs. Community Hospital of Monterey Peninsula        Deposition           Monterey County               M131719            August 5, 2016

Robert Harmon vs. C. Michael Hughes, et al                   Trial           King County Superior        15-2-00152-3 KNT       July 21, 2016

Parker Place Group, LLC vs. Shasta Crossroads II, LLC
(Wingmen V LLC as Cross Defendant/Complainant)            Deposition        Shasta County Superior            183157             July 7, 2016

ABM Parking Services, Inc. vs. Seattle Second and
James LLC                                                    Trial           King County Superior           15-2-04105-3        June 21, 2016

Helsper, et al vs. Kyriakou                               Arbitration        King County Superior          13-2-030108-5        June 23, 2016




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                                                                      EXHIBIT 3

                                                               MARK R. NEWTON
                                                 RECENT EXPERT TESTIMONY - GENERAL LITIGATION


                            Case                          Type                   Venue                   Case #              Date
Stevens vs. Jiffy Lube International                    Arbitration                  AAA             10-15-0005-2190     June 15, 2016

Cilker Apartments, LLC vs. Western National
Construction, et al                                     Deposition     Santa Clara County Superior    113CV258281        June 13, 2016

ABM Parking Services, Inc. vs. Seattle Second and
James LLC                                               Deposition        King County Superior        15-2-04105-3        June 9, 2016

Cuccia vs. Purcell                                         Trial         Marin County Superior        CIV1201675         May 27, 2016

Stevens vs. Jiffy Lube International                    Deposition                   AAA             10-15-0005-2190     May 13, 2016

Cuccia vs. Purcell                                         Trial         Marin County Superior        CIV1201675          May 2, 2016

Armada Acquisitions Group, LLC vs. Wing                 Arbitration                  AAA             01-14-0002-1948    February 5, 2016
Armada Acquisitions Group, LLC vs. Wing                 Arbitration                  AAA             01-14-0002-1948    February 3, 2016

State of Colorado vs. Alan DeAtley                         Trial                                                        February 2, 2016

JKL Construction, Inc. vs. URS Corporation              Arbitration                                                    November 16, 2015

Gardner vs. San Francisco Lesbian, Gay, Bisexual,
Transgender Pride
 Celebration Committee, Inc.                            Deposition                                                      October 22, 2015

Truck Insurance Exchange vs. Champion Steam             Depostion                                                       October 5, 2015
Cleaning


DiGiorgio, et al v. Chila                                  Trial                                                       September 29, 2015
DiGiorgio, et al v. Chila                               Depostion                                                      September 28, 2015

Gotcher v. Inter-City Contractors, Inc.                 Deposition                                                     September 10, 2015

Mutual of Eunemclaw v. Gregg Roofing, Inc.              Deposition                                                       August 4, 2015

Abiad, Yabut, et al v. Limalima, et al                  Arbitration                                                      July 21, 2015
Abiad, Yabut, et al v. Limalima, et al                  Deposition                                                       July 15, 2015

Coyote Valley RV v. Cusack Construction, et al          Deposition                                                        June 4, 2015

Ingenco Holdings, et al v. ACE American Insurance       Deposition                                                      March 11, 2015

Johnson v. Sutter Health, Sierra Region                 Deposition                                                       March 4, 2015

North Natomas v. USA Properties                         Deposition                                                      January 12, 2015

Maitri Compassionate Care v. AIDS Healthcare            Deposition                                                     November 6, 2014

Nicholson v. Thrifty Payless and Rite Aid               Deposition                                                      October 14, 2014

Chen v. City of Medina                                     Trial                                                        August 15, 2014
                                                                                                                        August 14, 2014
Chen v. City of Medina                                  Deposition                                                       July 31, 2014

Hartnett v. Forensic Analytical Specialties                Trial                                                         July 29, 2014

Webcor - Andy Ball Matter                               Testimony                                                        July 28, 2014




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                                                                         EXHIBIT 3

                                                                MARK R. NEWTON
                                                  RECENT EXPERT TESTIMONY - GENERAL LITIGATION


                          Case                               Type                   Venue        Case #          Date
Barnard Pipeline, Inc. v. Travelers Property & Casualty    Deposition                                      February 6, 2014

Andrew Ball v. Wecbor, et al.                              Deposition                                      February 4, 2014

Devil's Canyon Brewery v. B.R. Liquids                        Trial                                       October 28/29, 2013

Sunlink v. Hypower                                         Arbitration                                     October 11, 2013

Devil's Canyon Brewery v. BRJ Liquids                      Deposition                                      October 10, 2013

Capri Creek Associates v. Etter & Sons                     Deposition                                     September 10, 2013

Sunlink Corporation v. Hypower, Inc.                       Arbitration                                       July 17, 2013

SunLink Corporation v. Hypower, Inc.                       Deposition                                        July 9, 2013

Sandoval v. Eagle Pizzeria, et al.                         Deposition                                        June 14, 2013

AerofilterFDC, LP                                          Arbitration                                       June 13, 2013

All Continents Travel, et al. v. Travel Viva                  Trial                                        May 22-23, 2013

Ennen v. Integon Indemnity                                    Trial                                          May 2, 2013

Jeff DeSalvo v. Mike Syben                                 Deposition                                       April 10, 2013

BRJ & Associates v. Kitchell CEM, Inc.                     Arbitration                                      March 29, 2013

San Mateo West v. Douglas Ross Construction                Deposition                                      February 28, 2013

Sellen Construction 2 - FH, LLC.                           Deposition                                      February 26, 2013

Moment v. 3130 Pacific LLC                                 Arbitration                                     December 6, 2012

Columbia Industries, Inc. vs. Zurich American
Insurance Co.                                              Deposition                                      October 18, 2012

Caruso's LLC dba Fish v. Alexander Enterprises             Deposition                                       October 5, 2012

Slarve v. Coufal                                             Trial                                        September 17, 2012
                                                           Deposition                                      August 16, 2012

Webcor Construction v. Wilshire Landmark, et al.           Deposition                                     September 11, 2012

Gul, et al. v. Garda CL West, et al.                       Deposition                                     September 7, 2012

Rowen v. Aerometals                                        Arbitration                                     August 29, 2012

Asima Gul v. Garda Security                               Deposition &                                     August 21, 2012
                                                           Deposition                                      August 15, 2012

Beserra v. Griffin                                         Deposition                                        June 13, 2012

2880 Stevens Creek v. Blach Construction                   Deposition                                        May 17, 2012

East Baybridge Partners v. Catellus Residential            Deposition                                        May 16, 2012
  Construction

Rudy v. Kaiser                                             Deposition                                       March 1, 2012




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                                                                     EXHIBIT 3

                                                              MARK R. NEWTON
                                                RECENT EXPERT TESTIMONY - GENERAL LITIGATION


                          Case                           Type                   Venue          Case #         Date

Bero v. Westerdal                                      Deposition                                        January 13, 2012

Scottsdale Insurance v. Ford Motor                     Depositon                                        December 19, 2011

Ingram v. Garda C.L. West, et al                       Deposition                                       November 28, 2011
                                                         Trial                                            March 9, 2012
Pacific Capital Investments v. Crystal Springs 200
 Apartments, Ltd, et al                                Deposition                                       November 2, 2011

San Clemente Housing Partners LP v
 Nordby Construction Co. et al                         Deposition                                        October 21, 2011

Gustin, Schreiner & Gustin v. Siu                         Trial                                          October 7, 2011

Becho, Inc. v. Shasta Constructors, Inc.               Arbitration                                      September 12, 2011
                                                       Arbitration                                        June 30, 2011

HTI Holdings, Inc. v. Hartford Casualty                Deposition                                          July 27, 2011
 Insurance Company                                     Deposition                                        January 28, 2011

U.S. Bank v. Lane                                         Trial                                           June 24, 2011

Lewison v. Discover                                    Deposition                                          June 7, 2011

Becho, Inc. v. Shasta Constructors, Inc.               Deposition                                         May 23, 2011




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                                                                     EXHIBIT 3

                                                                 MARK R. NEWTON
                                                        RECENT EXPERT TESTIMONY - ASBESTOS

                            Case                                 Type                Venue                 Case #               Date

Michael Mandel, vs. American International Industries, et
al.                                                            Deposition     Alameda Superior           BC 644175          July 17, 2017

Zampa vs. Georgia-Pacific, et al                               Deposition     Alameda Superior          RG16836998          March 8, 2017

                                                                             Los Angeles County
Elliott vs. 3M Company, et all                                 Deposition         Superior               BC620884          Feburary 8, 2017

Booth vs. 3M Company, et al                                    Deposition     Alameda Superior          RG15789131         October 21, 2016

Simcic, et al vs. DertainTeed Corporation, et al                 Trial      San Francisco Superior     CGC-15-276438       October 4, 2016

                                                                             Los Angeles County
Wardle vs. Fluor Corporation, et al                            Deposition         Superior               JCCP4674          August 12, 2016

Barber vs. 3 M Company, et al                                  Deposition        Alameda County         RG14731652         August 11, 2016

                                                                             Los Angeles County
Colpitts vs. American International Industries, et al          Deposition         Superior           BC600850/JCCP 4674    August 10, 2016

Robert Lanthier vs. A.O. Reed & Company, et al                 Deposition    San Diego Superior       37-2015-00035357      June 14, 2016

Hill vs. Ameron International Corporation                      Deposition                                                    June 6, 2016

Heath vs. 3 M Company, et al                                   Deposition                                                 February 24, 2016

Claudet Webber vs. Basco Drywall & Painting, Co., et al.       Deposition                                                 February 10, 2016

Wedvik vs. Lone Star Industries, et al                         Deposition                                                  October 17, 2015

Gail Elizabeth Walashek, et al. vs. Air & Liquid Systems
Corp., et al.                                                  Depostion                                                   October 7, 2015

Anna Grimsley v. 4520 Corporation, et al                       Deposition                                                 September 8, 2015

Hubbard, Shirley v. Asbestos Defendants                        Deposition                                                  March 23, 2015

Maia, Ernest v. Asbestos Defendants                            Deposition                                                 February 11, 2015

Boyd, Gerald v. Asbestos Defendants                            Deposition                                                  February 3, 2015

Tremblay, Christine v. Asbestos Defendants                     Deposition                                                 November 24, 2014

Cantrell, Susan v. Asbestos Defendants                         Deposition                                                 September 11, 2014

Thompson, John v. Asbestos Defendants                          Deposition                                                 September 2, 2014

Stefanson, Richard v. Asbestos Defendants                        Trial

Peoples, Edna v. Asbestos Defendants                           Deposition                                                   August 5, 2014

Stefanson, Richard v. Asbestos Defendants                      Deposition                                                   July 17, 2014

Jim Rubino, et al v. Asbestos Defendants                       Deposition                                                    June 2, 2014

Koepke, Harold and Nancy Karidis-Koepke                        Deposition                                                    June 2, 2014
vs. Ford Motor Company

McBride, Sharon v. Asbestos Defendants                         Deposition                                                   May 16, 2014
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                                                                       EXHIBIT 3

                                                                  MARK R. NEWTON
                                                         RECENT EXPERT TESTIMONY - ASBESTOS

                           Case                                   Type             Venue      Case #         Date

Strouse, Susan v. Asbestos Defendants                           Deposition                               April 16, 2014

Hindman, Michael Eugene v. Asbestos Defendants                     Trial                                 April 17, 2014

Hindman, Michael Eugene v. Asbestos Defendants                  Deposition                               April 11, 2014

Moran, Richard III v. Asbestos Defendants                       Deposition                               April 3, 2014

Rogers, Billy v. Asbestos Defendants                            Deposition                             December 9, 2013

Morgan v. J.T. Thorpe & Sons, et al                             Deposition                              October 29, 2013

Schildknegt v. Air & Liquid Systems Corp., et al                Deposition                              October 14, 2013

LeBoa v Alta Building Material Co., et al                       Deposition                               August 7, 2013

McClain, Tommy & Gloria v. Asbestos Corporation                 Deposition                               July 26, 2013

Ronald Nelson v. Big B Lumberteria                              Deposition                               July 16, 2013

Jackson, Arvine v. Asbestos Defendants                          Deposition                               May 31, 2013

Estenson v. Asbestos Defendants                                 Deposition                               April 23, 2013

Donald and Viola Willis v. Buffalo Pumps, Inc., et al.          Deposition                               April 3, 2013

Sellen Construction 2 - FH, LLC.                                Deposition                             February 26, 2013

Moment v. 3130 Pacific LLC                                      Arbitration                            December 6, 2012

Mary Ellen Kelly v. Asbestos Defendants                         Deposition                             November 27, 2012

Michael and Carol Corbett v. Agilent Technologies               Deposition                              October 17, 2012

Geradine Lepore v. AC& S Inc., et. Al                           Deposition                              October 12, 2012

Lehman v. Allied, et all                                        Deposition                             September 19, 2011

Jazuk, James & Marjorie v. American Optical, et al              Deposition                             September 1, 2011

Floyd v. Liquid & Air Systems Corporation                       Deposition                              August 25, 2011

Bruno v. Asbestos Defendants                                    Deposition                               June 10, 2011

Box v. Fluor, et al                                             Deposition                               May 25, 2011
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                                EXHIBIT 4


    LIST OF DOCUMENTS IN SUPPORT OF OPINIONS
              Case 2:15-cv-07936-SJO-GJS Document 150-3 Filed 10/17/17 Page 57 of 57 Page ID
                                                #:2610
                                                               Prepared for Rose Walker LLP
                                                              RE: Teledyne RISI v. Martin-Baker

                                                     List of Documents in Support of Opinions



Reference
 Number                                                                        Description

    1       2014 - 2017 10-K SEC Filings Teledyne Technologies Incorporated
    2       2016 Annual Report Teledyne Technologies Incorporated
    3       AXIS Quotes for MBA designed JSF Sequencer dated September 4, 2015 and April 27, 2016
    4       FAST ROR Contract (N00383-15-D-003P)
    5       Letter of Agreement dated June 24, 2003 (MBA-JSF-T &C-2003-193)
    6       JSF Teaming Agreement between MBA and TESP dated January 26, 2000
    7       JSF Pricing Statement of Work between MBA and TESP dated March 5, 2003
    8       2007 - 2017 Revenues & Expenditures.xls
    9       2007 -2017 Revenues.xls
   10       JSF and FAST Volumes By PO.xls
   11       Mapics Shipper Log_HSNO.xls
   12       Depositions and Exhibits of Bob Ferguson (TESP)
   13       Depositions and Exhibits of Michael Summer (TESP)
   14       Depositions and Exhibits of John Martin (MBA)
   15       Research Relating to Original Procurement and Ultimate Deliveries of F16/F18
   16       TESP FASTr Proposal Documents - ESP-P13-042-OUT-022B.doc, ESP-P13-042-OUT-022H.pdf
   17       2011 Act-taken from 6-22-11-2016 Financials.xls
   18       Electronic Safety Products (Segment P&L) -DEC - 2014 - ACT - 1.xls
   19       Electronic Safety Products (Segment P&L) -DEC - 2015 - Actual - USD.xls
   20       Electronic Safety Products (Segment P&L) -DEC - 2016 - Actual - USD.xls
   21       Electronic Safety Products (Segment P&L) -JUN - 2017 - ACT - 1.xls
   22       Indr Lbr Sum 2014.2017.xls
   23       TESP Job Specific Financials - G261, G359, G372, G386, G392, G393, G397, G400, G402, G403, G404, G420
   24       34 PL 1st Amd Complaint.pdf
   25       44 MB Ans to Amd Complaint with Cclaim.pdf
   26       Ejection Reports.xls
   27       FAST ROR Return History 26JUL2017.xls
   28       NACES ROR Return History 26JUL2017.xls
   29       TESP Proposal for 8 Lot 10 LRIP Units - ESP-P15-034 - MBA - JSF LRIP 10
   30       JSF Program Overview Documents - GAO Report (GAO-16-390; F-35 JOINT STRIKE FIGHTER) from April 2016
   31       JSF Program Overview Documents - GAO Report (GAO-17-351; F-35 JOINT STRIKE FIGHTER) from April 2017
   32       TESP Proposal for LRIP 9-11
   33       ESP-P13-047 JSFTS HW 26JAN2015.xls
   34       ESP-P14-060_09FEB2015.xls
   35       JSF Pricing Curve_2015.xls
   36       Miscellaneous Emails Regarding FAST JSF Obsolescence Issues
   37       Martin-Baker_ESP JSF MOA and Teaming_TK_30Sept2015
   38       August 25, 2015 letter from TESP to MBA
   39       Statement of Work, MBA-JSF-SOW-2002-152 'Draft' Dated March 5, 2003
   40       Email from Steven Bodreaux to Bob Ferguson RE: New F-18 Builds
   41       http://economictimes.indiatimes.com/news/defence/israel-signs-deal-to-buy-17-additional-f-35-warplanes/articleshow/60251688.cms
   42       https://www.reuters.com/article/us-lockheed-results-idUSKBN1A3152
   43       https://www.reuters.com/article/us-airshow-paris-f35-idUSKBN1990S8
